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                                                                THIS POLICY
1.    This policy consists of:                                                          (2) Neither you nor any member of your
      a. the most recently issued Declarations                                               household has, within the past three
                                                                                             years, had either:
          Page;
                                                                                             (a) a license to drive; or
      b. the policy booklet version shown on that
          Declarations Page; and                                                             (b) a vehicle registration
      c. any endorsements that apply, including                                              suspended, revoked, or refused.
          those listed on that Declarations Page as                                     (3) Your car is used for pleasure and
          well as those issued in connection with any                                        business.
          subsequent renewal of this policy.                                 4.    All named insureds shown on the Declarations
2.    This policy contains all of the agreements be-                               Page and all applicants agree by acceptance of
                                                                                   this policy that:
      tween all named insureds who are shown on
      the Declarations Page and all applicants and:                                a. the statements in 3.b. above are made by
                                                                                        such named insured or applicant and are
      a. us; and                                                                        true; and
      b. any of our agents.                                                        b. we provide this insurance on the basis
3.    We agree to provide insurance according to the                                    those statements are true.
      terms of this policy:                                                  5.    Your purchase of this policy may allow:
      a. based on payment of premium for the cov-                                  a. you to purchase or obtain certain coverages,
          erages chosen; and                                                            coverage options, coverage deductibles, cov-
                                                                                        erage limits, or coverage terms on other
      b. unless otherwise stated in EXCEPTIONS,                                        products from the State Farm Companies,
          POLICY BOOKLET, & ENDORSE-                                                    subject to their applicable eligibility rules; or
          MENTS on the Declarations Page, in reli-                                b. the premium or price for other products or
          ance on the following statements:                                             services purchased by you, including non-
          (1) You are the sole owner of your car.                                       insurance products or services, to vary.
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         Such other products or services must be                    Companies. The State Farm Companies
         provided by the State Farm Companies or                    do not warrant the merchantability, fitness,
         by an organization that has entered into an                or quality of any product or service offered
         agreement or contract with the State Farm                  or provided by that organization.




                                                DEFINITIONS
We define certain words and phrases below for use          X-ray, dental, and rehabilitative services, including
throughout the policy. Each coverage includes ad-          medically necessary prosthetic devices and medi-
ditional definitions only for use with that coverage.      cally necessary ambulance, hospital, and nursing
These definitions apply to the singular, plural, pos-      services.
sessive, and any other form of these words and             Medical Expenses do not include any:
phrases. Defined words and phrases are printed in
boldface italics.                                          1. massage as defined in s. 480.033, Florida Stat-
                                                                utes;
Bodily Injury means bodily injury to a person and
sickness, disease, or death that results from it.          2. acupuncture as defined in s. 457.102, Florida
                                                                Statutes;
Car means a land motor vehicle with four or more
wheels, designed for use primarily on public roads.        3. services, care, treatment, or supplies provided
Car does not include:                                           by any massage therapist; or
1. Any vehicle while located for use as a dwelling         4. services, care, treatment, or supplies provided
     or other premises; or                                      by any acupuncturist.
2. A truck-tractor designed to pull any type of trailer.   Medically Necessary means a medical service or
Car Business means a business or job where the             supply that a prudent physician would provide for
purpose is to sell, lease, rent, repair, service, modi-    the purpose of preventing, diagnosing, or treating
fy, transport, store, or park land motor vehicles or       an illness, injury, disease, or symptom in a manner
any type of trailer.                                       that is:
Emergency Medical Condition means a medical                1. in accordance with generally accepted stand-
condition manifesting itself by acute symptoms of               ards of medical practice;
sufficient severity, which may include severe pain,
such that the absence of immediate medical atten-          2. clinically appropriate in terms of type, frequen-
tion could reasonably be expected to result in any of           cy, extent, site, and duration; and
the following:                                             3. not primarily for the convenience of the pa-
1. Serious jeopardy to patient health;                          tient, physician, or other healthcare provider.
2. Serious impairment to bodily functions; or              Motor Vehicle means a vehicle with four or more
3. Serious dysfunction of any bodily organ or              wheels that:
     part.                                                 1. is self-propelled and is of a type:
Fungi means any type or form of fungus or fungi                 a. designed for; and
and includes:                                                   b. required to be licensed for use on Florida
1. Mold;                                                             highways; or
2. Mildew; and                                             2. is a trailer or semitrailer designed for use with
3. Any of the following that are produced or re-                a vehicle described in 1. above.
     leased by fungi:                                      Motor Vehicle does not include:
     a. Mycotoxins;                                        1. a mobile home; or
     b. Spores;                                            2. any motor vehicle which is:
     c. Scents; or                                              a. used in mass transit, other than public
     d. Byproducts.                                                  school transportation;
Medical Expenses means reasonable charges in-                   b. designed to transport more than five pas-
curred for medically necessary medical, surgical,                    sengers, exclusive of the operator; and

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    c.    owned by a municipality, a transit authori-    2.  a vehicle designed to be pulled by a motor ve-
          ty, or a political subdivision of the state.       hicle.
Newly Acquired Car means a car newly owned by            Person means a human being.
you. A car ceases to be a newly acquired car on          Private Passenger Car means:
the earlier of:
1. the effective date and time of a policy, includ-      1. a car of the private passenger type, other than a
     ing any binder, issued by us or any other com-          pickup truck, van, minivan, or sport utility ve-
     pany that describes the car as an insured               hicle, designed primarily to carry persons and
                                                             their luggage; or
     vehicle; or
                                                         2. a pickup truck, van, minivan, or sport utility
2. the end of the 14th calendar day immediately              vehicle:
     following the date the car is delivered to you.
                                                             a. while not used for:
If a newly acquired car is not otherwise afforded
comprehensive coverage or collision coverage by                   (1) wholesale; or
this or any other policy, then this policy will pro-              (2) retail
vide Comprehensive Coverage or Collision Cover-
age for that newly acquired car, subject to a                     pickup or delivery; and
deductible of $500. Any coverage provided as a               b. that has a Gross Vehicle Weight Rating of
result of this paragraph will apply only until the end            10,000 pounds or less.
of the 5th calendar day immediately following the
date the newly acquired car is delivered to you.         Reasonable Charge, which includes reasonable
                                                         expense, means an amount determined by us to be
No-Fault Act means the Florida Motor Vehicle No-         reasonable in accordance with the No-Fault Act,
Fault Law and any amendments.                            considering one or more of the following:
Non-Owned Car means a car that is in the lawful          1. usual and customary charges;
possession of you or any resident relative and that
neither:                                                 2. payments accepted by the provider;
1. is owned by:                                          3. reimbursement levels in the community;
     a. you;                                             4. various federal and state medical fee schedules
                                                             applicable to motor vehicle and other insurance
     b. any resident relative;                               coverages;
     c. any other person who resides primarily in        5. the schedule of maximum charges in the No-
          your household; or                                 Fault Act,
     d. an employer of any person described in a.,       6. other information relevant to the reasonable-
          b., or c. above; nor                               ness of the charge for the service, treatment, or
2. has been operated by, rented by, or in the pos-           supply; or
     session of:                                         7. Medicare coding policies and payment meth-
     a. you; or                                              odologies of the federal Centers for Medicare
                                                             and Medicaid Services, including applicable
     b. any resident relative                                modifiers, if the coding policy or payment
     during any part of each of the 31 or more con-          methodology does not constitute a utilization
     secutive days immediately prior to the date of          limit.
     the accident or loss.                               Relative means a relative of any degree by blood or
Occupying means in, on, entering, or exiting.            marriage who usually makes his or her home in the
                                                         same family unit, whether or not temporarily living
Our means the Company issuing this policy as             elsewhere.
shown on the Declarations Page.
Owned By means:                                          Resident Relative means a person, other than you,
                                                         who resides primarily with the first person shown as a
1. owned by;                                             named insured on the Declarations Page and who is:
2. registered to; or                                     1. related to that named insured or his or her
3. leased, if the lease is written for a period of 6         spouse by blood, marriage, or adoption, includ-
     months or more, to.                                     ing an unmarried and unemancipated child of
                                                             either who is away at school and otherwise
Pedestrian means a person who is not occupying:              maintains his or her primary residence with
1. a motor vehicle; or                                       that named insured; or

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2.   a ward or a foster child of that named insured,           b.   not designed to carry persons; and
     his or her spouse, or a person described in 1.            c.   while not used as premises for office,
     above.                                                         store, or display purposes; or
State Farm Companies means one or more of the             2. a farm implement or farm wagon while being
following:                                                     pulled on public roads by a car.
1. State Farm Mutual Automobile Insurance                 Us means the Company issuing this policy as
     Company;                                             shown on the Declarations Page.
2. State Farm Fire and Casualty Company; and              We means the Company issuing this policy as
3. Subsidiaries or affiliates of either 1. or 2. above.   shown on the Declarations Page.
Temporary Substitute Car means a car that is in the       You or Your means the named insured or named
lawful possession of the person operating it and that:    insureds shown on the Declarations Page. If a
1. replaces your car for a short time while your          named insured shown on the Declarations Page is a
     car is out of use due to its:                        person, then you or your includes the spouse of
                                                          the first person shown as a named insured if the
     a. breakdown;                                        spouse resides primarily with that named insured.
     b. repair;                                           Your Car means the vehicle shown under YOUR
     c. servicing;                                        CAR on the Declarations Page. Your Car does not
                                                          include a vehicle that you no longer own or lease.
     d. damage; or
                                                          If a car is shown on the Declarations Page under
     e. theft; and                                        YOUR CAR, and you ask us to replace it with a
2. neither you nor the person operating it own or         car newly owned by you, then the car being replaced
     have registered.                                     will continue to be considered your car until the
If a car qualifies as both a non-owned car and a          earliest of:
temporary substitute car, then it is considered a         1. the end of the 30th calendar day immediately
temporary substitute car only.                                 following the date the car newly owned by you
Trailer means:                                                 is delivered to you;
1. a trailer:                                             2. the date this policy is no longer in force; or
     a. designed to be pulled by a private passen-        3. the date you no longer own or lease the car
          ger car;                                             being replaced.




                LIABILITY COVERAGE (Bodily Injury and Property Damage)
This policy provides Liability Coverage if A is              spouse who resides primarily with that named
shown under SYMBOLS on the Declarations Page.                insured for the maintenance or use of a car that
                                                               is owned by, or furnished by an employer to, a
Additional Definition                                          person who resides primarily in your household,
Insured means:                                                 but only if such car is neither owned by, nor
1. you and resident relatives for:                             furnished by an employer to, the first person
                                                               shown as a named insured on the Declarations
    a. the ownership, maintenance, or use of:                  Page or that persons spouse;
        (1) your car;                                     3.   any other person for his or her use of:
        (2) a newly acquired car; or                           a. your car;
        (3) a trailer; and                                     b. a newly acquired car;
    b. the maintenance or use of:                              c. a temporary substitute car; or
        (1) a non-owned car; or                                d. a trailer while attached to a car described
        (2) a temporary substitute car;                             in a., b., or c. above.
2. the first person shown as a named insured on the            Such vehicle must be used with your express or
    Declarations Page and that named insureds                 implied permission; and

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4.  any other person or organization vicariously                 (1) that part of the damages we pay; or
    liable for the use of a vehicle by an insured as             (2) this policys applicable Liability Cov-
    defined in 1., 2., or 3. above, but only for such                 erage limit; and
    vicarious liability. This provision applies only
    if the vehicle is neither owned by, nor hired by,       b. after a judgment.
    that other person or organization.                      We have no duty to pay interest that accrues af-
Insured does not include the United States of               ter we deposit in court, pay, or offer to pay, the
America or any of its agencies.                             amount due under the Insuring Agreement of
Insuring Agreement                                          this policys Liability Coverage. We also have
                                                            no duty to pay interest that accrues on any
1. We will pay damages an insured becomes le-               damages paid or payable by a party other than
    gally liable to pay because of:                         the insured or us;
    a. bodily injury to others; and                     4. Premiums for bonds, provided by a company
    b. damage to property                                   chosen by us, required to appeal a decision in a
                                                            lawsuit against an insured. We have no duty to:
    caused by an accident that involves a vehicle           a. pay for any bond with a face amount that
    for which that insured is provided Liability                 exceeds this policys applicable Liability
    Coverage by this policy.
                                                                 Coverage limit;
2. We have the right to:                                    b. furnish or apply for any bonds; or
    a. investigate, negotiate, and settle any claim
          or lawsuit;                                       c. pay premiums for bonds purchased after we
                                                                 deposit in court, pay, or offer to pay, the
    b. defend an insured in any claim or lawsuit,                amount due under the Insuring Agreement
          with attorneys chosen by us; and                       of this policys Liability Coverage; and
    c. appeal any award or legal decision
                                                        5. The following costs and expenses if related to
    for damages payable under this policys Liabil-         and incurred after a lawsuit has been filed
    ity Coverage.                                           against an insured:
Supplementary Payments                                      a. Loss of wages or salary, but not other in-
We will pay, in addition to the damages described in             come, up to $200 for each day an insured
the Insuring Agreement of this policys Liability                attends, at our request:
Coverage, those items listed below that result from              (1) an arbitration;
such accident:                                                   (2) a mediation; or
1. Attorney fees for attorneys chosen by us to                   (3) a trial of a lawsuit; and
    defend an insured who is sued for such damag-
    es. We have no duty to pay attorney fees in-            b. Reasonable expenses incurred by an in-
    curred after we deposit in court or pay the                  sured at our request other than loss of
    amount due under the Insuring Agreement of                   wages, salary, or other income.
    this policys Liability Coverage;                       The amount of any of the costs or expenses
2. Court costs awarded by the court against an              listed above that are incurred by an insured
    insured and resulting from that part of the law-        must be reported to us before we will pay such
    suit:                                                   incurred costs or expenses.
    a. that seeks damages payable under this pol-       Limits
          icys Liability Coverage; and
    b. against which we defend an insured with          The Liability Coverage limits for bodily injury are
          attorneys chosen by us.                       shown on the Declarations Page under Liability
                                                        Coverage  Bodily Injury Limits  Each Person,
    We have no duty to pay court costs incurred af-     Each Accident.
    ter we deposit in court or pay the amount due
    under the Insuring Agreement of this policys       The limit shown under Each Person is the most
    Liability Coverage;                                 we will pay for the sum of:
3. Interest the insured is legally liable to pay on     1. all damages resulting from bodily injury to any
    damages payable under the Insuring Agree-               one person injured in any one accident; and
    ment of this policys Liability Coverage:           2. all damages, including damages for emotional
    a. before a judgment, but only the interest on          distress, sustained by other persons as a direct
          the lesser of:                                    result of that bodily injury.

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The limit shown under Each Accident is the most       4.  FOR BODILY INJURY TO THAT INSUREDS
we will pay, subject to the limit for Each Person,        EMPLOYEE WHICH ARISES OUT OF THAT
for all damages and all emotional distress resulting        EMPLOYEES EMPLOYMENT. This exclu-
from bodily injury to two or more persons who               sion does not apply to that insureds household
sustained damages or emotional distress in the same         employee who is neither covered, nor required to
accident.                                                   be covered, under workers compensation insur-
The Liability Coverage limit for damage to property         ance;
is shown on the Declarations Page under Liability      5. FOR BODILY INJURY TO THAT INSUREDS
Coverage  Property Damage Limit  Each Acci-               FELLOW EMPLOYEE WHILE THE FELLOW
dent. The limit shown is the most we will pay for          EMPLOYEE IS IN THE COURSE AND
all damages resulting from damage to property in            SCOPE OF HIS OR HER EMPLOYMENT.
any one accident.                                           This exclusion does not apply to you and resident
These Liability Coverage limits are the most we             relatives who are legally liable for bodily injury
will pay regardless of the number of:                       to fellow employees, or if this coverage, of this
                                                            policy, is used to certify financial responsibility;
1. insureds;
                                                        6. FOR DAMAGES ARISING OUT OF THE
2. claims made;                                             OWNERSHIP, MAINTENANCE, OR USE OF
3. vehicles insured; or                                     A VEHICLE WHILE IT IS RENTED TO OR
                                                            LEASED TO OTHERS BY AN INSURED;
4. vehicles involved in the accident.
                                                        7. FOR DAMAGES ARISING OUT OF THE
Nonduplication                                              OWNERSHIP, MAINTENANCE, OR USE OF
We will not pay any damages or expenses under Liabil-       A VEHICLE WHILE IT IS BEING USED TO
ity Coverage:                                               CARRY PERSONS FOR A CHARGE. This
                                                            exclusion does not apply to the use of a private
1. that have already been paid as expenses under            passenger car on a share-the-expense basis;
     No-Fault Coverage or Medical Payments Cov-
     erage of any policy issued by the State Farm       8. WHILE MAINTAINING OR USING A VE-
                                                            HICLE IN CONNECTION WITH THAT IN-
     Companies to you or any resident relative; or          SUREDS EMPLOYMENT IN OR ENGAGE-
2. that have already been paid under Uninsured              MENT OF ANY KIND IN A CAR BUSI-
     Motor Vehicle Coverage or Underinsured Mo-             NESS. This exclusion does not apply to:
     tor Vehicle Coverage of any policy issued by           a. you;
     the State Farm Companies to you or any resi-           b. any resident relative; or
     dent relative.
                                                            c. any agent, employee, or business partner
Exclusions                                                        of a. or b. above
THERE IS NO COVERAGE FOR AN INSURED:                        while maintaining or using your car, a newly
1. WHO INTENTIONALLY CAUSES BODILY                          acquired car, a temporary substitute car, or a
     INJURY OR DAMAGE TO PROPERTY;                          trailer owned by you;
2. FOR BODILY INJURY TO:                                9. WHILE THAT INSURED IS VALET PARK-
                                                            ING A VEHICLE;
     a. YOU;
                                                        10. WHILE MAINTAINING OR USING ANY VE-
     b. RESIDENT RELATIVES; AND                             HICLE OTHER THAN YOUR CAR, A NEWLY
     c. ANY OTHER PERSON WHO BOTH                           ACQUIRED CAR, A TEMPORARY SUBSTI-
          RESIDES PRIMARILY WITH AN IN-                     TUTE CAR, OR A TRAILER IN ANY BUSI-
          SURED AND WHO:                                    NESS OR OCCUPATION OTHER THAN A
                                                            CAR BUSINESS OR VALET PARKING. This
          (1) IS RELATED TO THAT INSURED BY                 exclusion does not apply to the maintenance or
              BLOOD, MARRIAGE, OR ADOP-                     use of a private passenger car;
              TION; OR                                  11. FOR DAMAGE TO PROPERTY WHILE IT IS:
          (2) IS A WARD OR FOSTER CHILD OF                  a. OWNED BY;
              THAT INSURED;                                 b. RENTED TO;
3. OR FOR THAT INSUREDS INSURER FOR                        c. USED BY;
     ANY OBLIGATION UNDER ANY TYPE OF
     WORKERS COMPENSATION, DISABIL-                        d. IN THE CARE OF; OR
     ITY, OR SIMILAR LAW;                                   e. TRANSPORTED BY
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    YOU, A RESIDENT RELATIVE, OR THE                     2.   The Liability Coverage provided by this policy
    PERSON WHO IS LEGALLY LIABLE FOR                          applies as primary coverage for the ownership,
    THE DAMAGE. This exclusion does not apply                 maintenance, or use of your car or a trailer at-
    to damage to a:                                           tached to it.
    a. motor vehicle owned by the employer of                 a. If:
         you or any resident relative if such dam-
         age is caused by an insured while operat-                (1) this is the only Car Policy issued to
         ing another motor vehicle;                                    you or any resident relative by the
    b. residence while rented to or leased to an                       State Farm Companies that provides
         insured; or                                                   liability coverage which applies to the
    c. private garage while rented to or leased to                     accident as primary coverage; and
         an insured;                                              (2) liability coverage provided by one or
12. FOR LIABILITY ASSUMED UNDER ANY                                    more sources other than the State
    CONTRACT OR AGREEMENT;                                             Farm Companies also applies as pri-
13. WHILE USING A TRAILER WITH A MO-                                   mary coverage for the same accident,
    TOR VEHICLE IF THAT INSURED IS NOT                            then we will pay the proportion of dam-
    PROVIDED LIABILITY COVERAGE BY                                ages payable as primary that our applica-
    THIS POLICY FOR THE USE OF THAT                               ble limit bears to the sum of our applicable
    MOTOR VEHICLE;                                                limit and the limits of all other liability
14. FOR THE OWNERSHIP, MAINTENANCE,                               coverage that apply as primary coverage.
    OR USE OF ANY VEHICLE WHILE IT IS:
                                                              b. If:
    a. OFF PUBLIC ROADS AND BEING PRE-
         PARED FOR, USED IN PRACTICE FOR,                         (1) more than one Car Policy issued to
         OR OPERATED IN ANY RACING CON-                                you or any resident relative by the
         TEST,      SPEED       CONTEST,       HILL-                   State Farm Companies provides lia-
         CLIMBING CONTEST, JUMPING CON-                                bility coverage which applies to the
         TEST, OR ANY SIMILAR CONTEST; OR                              accident as primary coverage; and
    b. ON A TRACK DESIGNED PRIMARILY                              (2) liability coverage provided by one or
         FOR RACING OR HIGH-SPEED DRIV-                                more sources other than the State
         ING. This exclusion (14.b.) does not apply if                 Farm Companies also applies as pri-
         the vehicle is being used in connection with                  mary coverage for the same accident,
         an activity other than racing, high-speed                then the State Farm Companies will pay the
         driving, or any type of competitive driving;
         OR                                                       proportion of damages payable as primary
                                                                  that the maximum amount that may be paid
15. WHO IS AN EMPLOYEE OF THE UNITED                              by the State Farm Companies as determined
    STATES OF AMERICA OR ANY OF ITS                               in 1. above bears to the sum of such amount
    AGENCIES, IF THE PROVISIONS OF THE                            and the limits of all other liability coverage
    FEDERAL TORT CLAIMS ACT APPLY.                                that apply as primary coverage.
If Other Liability Coverage Applies                      3.   Except as provided in 2. above, the Liability
1. If liability coverage provided by this policy and          Coverage provided by this policy applies as
    one or more other Car Policies issued to you or           excess coverage.
    any resident relative by the State Farm Com-              a. If:
    panies apply to the same accident, then:
                                                                  (1) this is the only Car Policy issued to
    a. the liability coverage limits of such poli-                     you or any resident relative by the
         cies will not be added together to deter-
         mine the most that may be paid; and                           State Farm Companies that provides
                                                                       liability coverage which applies to the
    b. the maximum amount that may be paid                             accident as excess coverage; and
         from all such policies combined is the sin-
         gle highest applicable limit provided by                 (2) liability coverage provided by one or
         any one of the policies. We may choose                        more sources other than the State
         one or more policies from which to make                       Farm Companies also applies as ex-
         payment.                                                      cess coverage for the same accident,

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         then we will pay the proportion of dam-        Required Out-of-State Liability Coverage
         ages payable as excess that our applicable     If:
         limit bears to the sum of our applicable
         limit and the limits of all other liability    1. an insured is in another state of the United
                                                             States of America, a territory or possession
         coverage that apply as excess coverage.             of the United States of America, the District
    b.   If:                                                 of Columbia, or any province or territory of
                                                             Canada, and as a nonresident becomes sub-
         (1) more than one Car Policy issued to you          ject to its motor vehicle compulsory insur-
              or any resident relative by the State          ance law, financial responsibility law, or
              Farm Companies provides liability              similar law; and
              coverage which applies to the accident    2. this policy does not provide at least the mini-
              as excess coverage; and                        mum liability coverage required by such law
         (2) liability coverage provided by one or           for such nonresident,
              more sources other than the State         then this policy will be interpreted to provide
              Farm Companies also applies as ex-        the minimum liability coverage required by such
              cess coverage for the same accident,      law.
         then the State Farm Companies will pay         This provision does not apply to liability coverage
         the proportion of damages payable as ex-       required by law for motor carriers of passengers or
         cess that the maximum amount that may          motor carriers of property.
         be paid by the State Farm Companies as         Financial Responsibility Certification
         determined in 1. above bears to the sum of     When this policy is certified under any law as proof
         such amount and the limits of all other lia-   of future financial responsibility, and while required
         bility coverage that apply as excess cover-    during the policy period, this policy will comply
         age.                                           with such law to the extent required.




                        PROPERTY DAMAGE LIABILITY COVERAGE
This policy provides Property Damage Liability              but only if such car is neither owned by, nor
Coverage if B is shown under SYMBOLS on                 furnished by an employer to, the first person
the Declarations Page.                                      shown as a named insured on the Declarations
Additional Definition                                       Page or that persons spouse;
Insured means:                                          3. any other person for his or her use of:
1. you and resident relatives for:                          a. your car;
    a. the ownership, maintenance, or use of:               b. a newly acquired car;
         (1) your car;                                      c. a temporary substitute car; or
         (2) a newly acquired car; or                       d. a trailer while attached to a car described
         (3) a trailer; and                                      in a., b., or c. above.
                                                            Such vehicle must be used with your express or
    b. the maintenance or use of:                           implied permission; and
         (1) a non-owned car; or                        4. any other person or organization vicariously
         (2) a temporary substitute car;                    liable for the use of a vehicle by an insured as
2. the first person shown as a named insured on             defined in 1., 2., or 3. above, but only for such
    the Declarations Page and that named insureds          vicarious liability. This provision applies only
    spouse who resides primarily with that named            if the vehicle is neither owned by, nor hired by,
    insured for the maintenance or use of a car that        that other person or organization.
    is owned by, or furnished by an employer to, a      Insured does not include the United States of
    person who resides primarily in your household,     America or any of its agencies.

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Insuring Agreement                                      3.  Interest the insured is legally liable to pay on
1. We will pay damages an insured becomes le-               damages payable under the Insuring Agree-
     gally liable to pay because of damage to prop-         ment of this policys Property Damage Liabil-
     erty caused by an accident that involves a             ity Coverage:
     vehicle for which that insured is provided             a. before a judgment, but only the interest on
     Property Damage Liability Coverage by this                  the lesser of:
     policy;                                                     (1) that part of the damages we pay; or
2. We have the right to:                                         (2) this policys applicable Property
     a. investigate, negotiate, and settle any claim                  Damage Liability Coverage limit; and
           or lawsuit;                                      b. after a judgment.
     b. defend an insured in any claim or lawsuit,          We have no duty to pay interest that accrues af-
           with attorneys chosen by us; and                 ter we deposit in court, pay, or offer to pay, the
     c. appeal any award or legal decision                  amount due under the Insuring Agreement of
     for damages payable under this policys Prop-          this policys Property Damage Liability Cover-
     erty Damage Liability Coverage.                        age. We also have no duty to pay interest that
                                                            accrues on any damages paid or payable by a
3. We will only defend an insured in a claim or             party other than the insured or us.
     lawsuit for damages payable under this policys    4. Premiums for bonds, provided by a company
     Property Damage Liability Coverage, that are           chosen by us, required to appeal a decision in a
     caused by an accident for which that insured is        lawsuit against an insured. We have no duty
     provided Property Damage Liability Coverage            to:
     by this policy. If a claim or lawsuit seeks dam-       a. pay for any bond with a face amount that
     ages due to both property damage and bodily                 exceeds this policys applicable Property
     injury, then we will only defend the insured                Damage Liability Coverage limit;
     for property damage, and the insured will be           b. furnish or apply for any bonds; or
     required to hire and pay attorneys to defend the
     insured for damages due to bodily injury.              c. pay premiums for bonds purchased after
                                                                 we deposit in court, pay, or offer to pay,
Supplementary Payments                                           the amount due under this policys Proper-
We will pay, in addition to the damages described                ty Damage Liability Coverage; and
in the Insuring Agreement of this policys Property     5. The following costs and expenses if related to
Damage Liability Coverage, those items listed be-           and incurred after a lawsuit has been filed
low that result from such accident:                         against an insured:
1. Attorney fees for attorneys chosen by us to              a. Loss of wages or salary, but not other in-
     defend an insured who is sued for such damag-               come, up to $200 for each day an insured
     es. We have no duty to pay attorney fees in-                attends, at our request:
     curred after we deposit in court or pay the                 (1) an arbitration;
     amount due under the Insuring Agreement of                  (2) a mediation; or
     this policys Property Damage Liability Cover-              (3) a trial of a lawsuit; and
     age.
                                                            b. Reasonable expenses incurred by an in-
2. Court costs awarded by the court against an                   sured at our request other than loss of
     insured and resulting from that part of a law-              wages, salary, or other income.
     suit:                                                  The amount of any of the costs or expenses
     a. that seeks damages payable under this pol-          listed above that are incurred by an insured
           icys Property Damage Liability Coverage;        must be reported to us before we will pay such
           and                                              incurred costs or expenses.
     b. against which we defend an insured with         Limit
           attorneys chosen by us.                      The Property Damage Liability Coverage limit for
                                                        damage to property is shown on the Declarations
     We have no duty to pay court costs incurred af-    Page under Property Damage Liability Coverage 
     ter we deposit in court or pay the amount due      Limit  Each Accident. The limit shown is the
     under the Insuring Agreement of this policys      most we will pay for all damages resulting from
     Property Damage Liability Coverage.                damage to property in any one accident.
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The Property Damage Liability Coverage limit is          the maintenance or use of a private passenger
the most we will pay regardless of the number of:        car;
1. insureds;                                         9. FOR DAMAGE TO PROPERTY WHILE IT
2. claims made;                                          IS:
3. vehicles insured; or                                  a. OWNED BY;
4. vehicles involved in the accident.                    b. RENTED TO;
Exclusions                                               c. USED BY;
THERE IS NO COVERAGE FOR AN INSURED:                     d. IN THE CARE OF; OR
1. WHO INTENTIONALLY CAUSES DAM-                         e. TRANSPORTED BY
    AGE TO PROPERTY;                                     YOU, A RESIDENT RELATIVE, OR THE
2. FOR BODILY INJURY;                                    PERSON WHO IS LEGALLY LIABLE FOR
                                                         THE DAMAGE. This exclusion does not ap-
3. OR FOR THAT INSUREDS INSURER FOR                     ply to damage to a:
    ANY OBLIGATION UNDER ANY TYPE OF
    WORKERS COMPENSATION, DISABIL-                      a. motor vehicle owned by the employer of
    ITY, OR SIMILAR LAW;                                      you or any resident relative if such dam-
                                                              age is caused by an insured while operat-
4. FOR DAMAGES ARISING OUT OF THE                             ing another motor vehicle;
    OWNERSHIP, MAINTENANCE, OR USE
    OF A VEHICLE WHILE IT IS RENTED TO                   b. residence while rented to or leased to an
    OR LEASED TO OTHERS BY AN INSURED;                        insured;
5. FOR DAMAGES ARISING OUT OF THE                        c. private garage while rented to or leased to
    OWNERSHIP, MAINTENANCE, OR USE                            an insured.
    OF A VEHICLE WHILE IT IS BEING USED              10. FOR LIABILITY ASSUMED UNDER ANY
    TO CARRY PERSONS FOR A CHARGE.                       CONTRACT OR AGREEMENT;
    This exclusion does not apply to the use of a    11. WHILE USING A TRAILER WITH A MO-
    private passenger car on a share-the-expense         TOR VEHICLE IF THAT INSURED IS NOT
    basis;                                               PROVIDED LIABILITY COVERAGE BY
6. WHILE MAINTAINING OR USING A VE-                      THIS POLICY FOR THE USE OF THAT
    HICLE IN CONNECTION WITH THAT IN-                    MOTOR VEHICLE;
    SUREDS          EMPLOYMENT          IN     OR   12. FOR THE OWNERSHIP, MAINTENANCE,
    ENGAGEMENT OF ANY KIND IN A CAR                      OR USE OF ANY VEHICLE WHILE IT IS:
    BUSINESS. This exclusion does not apply to:
                                                         a. OFF PUBLIC ROADS AND BEING PRE-
    a. you;                                                   PARED FOR, USED IN PRACTICE FOR,
    b. any resident relative; or                              OR OPERATED IN ANY RACING CON-
    c. any agent, employee, or business partner               TEST,     SPEED      CONTEST,        HILL-
         of a. or b. above                                    CLIMBING CONTEST, JUMPING CON-
                                                              TEST, OR ANY SIMILAR CONTEST; OR
    while maintaining or using your car, a newly
    acquired car, a temporary substitute car, or a       b. ON A TRACK DESIGNED PRIMARILY
    trailer owned by you;                                     FOR RACING OR HIGH-SPEED DRIV-
7. WHILE THAT INSURED IS VALET PARK-                          ING. This exclusion (12.b.) does not ap-
    ING A VEHICLE;                                            ply if the vehicle is being used in
8. WHILE MAINTAINING OR USING ANY                             connection with an activity other than rac-
    VEHICLE OTHER THAN YOUR CAR, A                            ing, high-speed driving, or any type of
    NEWLY ACQUIRED CAR, A TEMPORARY                           competitive driving; OR
    SUBSTITUTE CAR, OR A TRAILER IN                  13. WHO IS AN EMPLOYEE OF THE UNITED
    ANY BUSINESS OR OCCUPATION OTHER                     STATES OF AMERICA OR ANY OF ITS
    THAN A CAR BUSINESS OR VALET                         AGENCIES, IF THE PROVISIONS OF THE
    PARKING. This exclusion does not apply to            FEDERAL TORT CLAIMS ACT APPLY.


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If Other Property Damage Liability Coverage                           applies as primary coverage for the
Applies                                                               same accident,
1. If property damage liability coverage provided                then the State Farm Companies will pay
    by this policy and one or more other Car Poli-               the proportion of damages payable as pri-
    cies issued to you or any resident relative by               mary that the maximum amount that may
    the State Farm Companies apply to the same                   be paid by the State Farm Companies as
    accident, then:                                              determined in 1. above bears to the sum of
    a. the property damage liability coverage                    such amount and the limits of all other
         limits of such policies will not be added               property damage liability coverage that
         together to determine the most that may be              apply as primary coverage.
         paid; and                                     3.   Except as provided in 2. above, the Property
                                                            Damage Liability Coverage provided by this
    b. the maximum amount that may be paid                  policy applies as excess coverage.
         from all such policies combined is the sin-
         gle highest applicable limit provided by           a. If:
         any one of the policies. We may choose                  (1) this is the only Car Policy issued to
         one or more policies from which to make                      you or any resident relative by the
         payment.                                                     State Farm Companies that provides
2. The Property Damage Liability Coverage pro-                        property damage liability coverage
    vided by this policy applies as primary cover-                    which applies to the accident as ex-
    age for the ownership, maintenance, or use of                     cess coverage; and
    your car or a trailer attached to it.                        (2) property damage liability coverage
    a. If:                                                            provided by one or more sources other
                                                                      than the State Farm Companies also
         (1) this is the only Car Policy issued to                    applies as excess coverage for the
              you or any resident relative by the                     same accident,
              State Farm Companies that provides
              property damage liability coverage                 then we will pay the proportion of damag-
              which applies to the accident as pri-              es payable as excess that our applicable
              mary coverage; and                                 limit bears to the sum of our applicable
                                                                 limit and the limits of all other property
         (2) property damage liability coverage                  damage liability coverage that apply as ex-
              provided by one or more sources other              cess coverage.
              than the State Farm Companies also
              applies as primary coverage for the           b. If:
              same accident,                                     (1) more than one Car Policy issued to
                                                                      you or any resident relative by the
         then we will pay the proportion of damag-                    State Farm Companies provides
         es payable as primary that our applicable                    property damage liability coverage
         limit bears to the sum of our applicable                     which applies to the accident as ex-
         limit and the limits of all other property                   cess coverage; and
         damage liability coverage that apply as                 (2) property damage liability coverage
         primary coverage.                                            provided by one or more sources other
    b. If:                                                            than the State Farm Companies also
                                                                      applies as excess coverage for the
         (1) more than one Car Policy issued to                       same accident,
              you or any resident relative by the                then the State Farm Companies will pay
              State Farm Companies provides                      the proportion of damages payable as ex-
              property damage liability coverage                 cess that the maximum amount that may
              which applies to the accident as pri-              be paid by the State Farm Companies as
              mary coverage; and                                 determined in 1. above bears to the sum of
         (2) property damage liability coverage                  such amount and the limits of all other
              provided by one or more sources other              property damage liability coverage that
              than the State Farm Companies also                 apply as excess coverage.

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Required Out-of-State Liability Coverage               then this policy will be interpreted to provide the
If:                                                    minimum liability coverage required by such law.
1. an insured is in another state of the United        This provision does not apply to liability coverage
    States of America, a territory or possession of    required by law for motor carriers of passengers or
    the United States of America, the District of      motor carriers of property.
    Columbia, or any province or territory of Can-
    ada, and as a nonresident becomes subject to its   Financial Responsibility Certification
    motor vehicle compulsory insurance law, fi-
    nancial responsibility law, or similar law; and    When this policy is certified under any law as proof
2. this policy does not provide at least the mini-     of future financial responsibility, and while required
    mum liability coverage required by such law        during the policy period, this policy will comply
    for such nonresident,                              with such law to the extent required.




                                      NO-FAULT COVERAGE
This policy provides No-Fault Coverage if P              after the motor vehicle accident that caused
with a number beside it is shown under SYM-               bodily injury to that insured.
BOLS on the Declarations Page. P with a num-            We will not pay for any medical expenses if
ber beside it is your coverage symbol. Check your          that insured does not receive initial services
coverage symbol shown on the Declarations Page             and care from a provider described in A. below
with the SCHEDULE in the Limits section. The               within 14 days after the motor vehicle accident
Income Loss option you have selected is shown by           that caused bodily injury to that insured.
your coverage symbol.
                                                           We will only pay medical expenses for:
Additional Definition                                      A. initial services and care:
Insured means:                                                  (1) lawfully provided, supervised, ordered
1. named insureds and relatives:                                     or prescribed by:
     a. while occupying a motor vehicle;                             (a) a physician licensed under chap-
     b. struck as a pedestrian by a motor vehicle;                        ter 458 or chapter 459 of the Flor-
         or                                                               ida Statutes;
2. any other person while occupying or struck as                     (b) a dentist licensed under chapter
     a pedestrian by:                                                     466 of the Florida Statutes; or
     a. your car;                                                    (c) a chiropractic physician licensed
                                                                          under chapter 460 of the Florida
     b. a newly acquired car;                                             Statutes;
     c. a temporary substitute car; or                          (2) provided in a hospital or facility that
     d. a trailer while attached to a car described                  owns, or is wholly owned by, a hospital;
         in a., b., or c. above.                                     or
Insuring Agreement                                              (3) provided by a person or entity li-
We will pay in accordance with the No-Fault Act                      censed under part III of chapter 401 of
properly billed and documented reasonable charg-                     the Florida Statutes which provides
es for bodily injury to an insured caused by an ac-                  emergency transportation and treat-
cident resulting from the ownership, maintenance,                    ment;
or use of a motor vehicle as follows:                      B. upon referral by a provider described in A.
1. Medical Expenses                                             above, follow-up services and care con-
     We will pay 80% of properly billed and docu-               sistent with the underlying medical diag-
     mented medical expenses, but only if that in-              nosis rendered pursuant to A. above which
     sured receives initial services and care from a            may be provided, supervised, ordered, or
     provider described in A. below within 14 days              prescribed only by:
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   (1) a physician or osteopathic physician                          or chapter 460 of the Florida
         licensed under chapter 458 or chapter                       Statutes;
         459 of the Florida Statutes;                            (b) has been continuously licensed
   (2) a dentist licensed under chapter 466 of                       for more than three years or is a
         the Florida Statutes;                                       publicly traded corporation that
   (3) a chiropractic physician licensed un-                         issues securities traded on an ex-
         der chapter 460 of the Florida Statues;                     change registered with the United
         or                                                          States Securities and Exchange
                                                                     Commission as a national securi-
   (4) to the extent permitted by applicable                         ties exchange; and
         law and under the supervision of a                      (c) provides at least four of the fol-
         person described in (1), (2), or (3)                        lowing medical specialties:
         immediately above;
         (a) a physician assistant licensed un-                      i. general medicine;
              der chapter 458 or chapter 459 of                      ii. radiography;
              the Florida Statutes; or                               iii. orthopedic medicine;
         (b) an advanced registered nurse                            iv. physical medicine;
              practitioner licensed under chap-
              ter 464 of the Florida Statutes;                       v. physical therapy;
              and                                                    vi. physical rehabilitation;
C. follow-up services and care consistent with                       vii. prescribing or dispensing
   the underlying medical diagnosis rendered                               outpatient prescription medi-
   pursuant to A. above which may only be
   provided by the following persons or enti-                              cation; or
   ties:                                                             viii. laboratory services.
   (1) a hospital or ambulatory surgical cen-       2. Income Loss
         ter licensed under chapter 395 of the
         Florida Statutes;                             We will pay, when properly documented, 60%
                                                       of any loss of gross income and loss of earn-
   (2) an entity wholly owned by one or                ings capacity per individual injured insured
         more physicians licensed under chap-          from that insureds inability to work that is
         ter 458 or 459 of the Florida Statutes,
         chiropractic physicians licensed under        proximately caused by the injury sustained by
         chapter 460 of the Florida Statutes or        that individual insured.
         dentists licensed under chapter 466 of     3. Replacement Services Loss
         the Florida Statutes, or by such practi-
         tioners and the spouse, parent, child,        We will pay, when properly documented, rea-
         or sibling of such practitioners;             sonable charges incurred in obtaining from
   (3) an entity that owns or is wholly                others ordinary and necessary services in lieu
         owned, directly or indirectly, by a           of those that, but for the injury, the individual
         hospital or hospitals;                        injured insured would have performed without
                                                       income for the benefit of his or her household.
   (4) a physical therapist licensed under
         chapter 486 of the Florida Statutes,       4. Death Benefits
         based upon referral by a provider de-         We will pay $5,000 per deceased individual in-
         scribed in B. above;                          sured.
   (5) a health care clinic licensed under part     Limits
         X of chapter 400 of the Florida Stat-
         utes which is accredited by the Joint      1. We will not pay any charge that the No-Fault
         Commission on Accreditation of                Act does not require us to pay, or the amount of
         Healthcare Organizations, the Ameri-          any charge that exceeds the amount the No-
         can Osteopathic Association, the              Fault Act allows to be charged.
         Commission on Accreditation of Re-         2. The most we will pay for each injured insured
         habilitation Facilities, or the Accredi-      as a result of any one accident is $10,000 for
         tation Association for Ambulatory             all combined Medical Expenses, Income
         Health Care, Inc., or                         Loss, and Replacement Services Loss, de-
         (a) has a medical director licensed           scribed in the Insuring Agreement of this pol-
              under chapter 458, chapter 459,          icys No-Fault Coverage.
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The limit for Medical Expenses is $10,000 if a                  (II) Medicare Part B, in the case of ser-
physician (excluding a chiropractic physician), a                     vices, supplies, and care provided by
dentist, a physician assistant, or an advanced reg-                   ambulatory surgical centers and clini-
istered nurse practitioner described in 1.A. or 1.B                   cal laboratories.
under the Insuring Agreement of this policys                   (III) The Durable Medical Equipment
No-Fault Coverage determined the injured in-                          Prosthetics/Orthotics and Supplies fee
sured had an emergency medical condition.                             schedule of Medicare Part B, in the
The limit for Medical Expenses is $2,500 if                           case of durable medical equipment.
any healthcare provider described in 1.A. or                    However, if such services, supplies, or care
1.B. under the Insuring Agreement of this                       is not reimbursable under Medicare Part B,
policys No-Fault Coverage determined the in-                   as provided in this sub-subparagraph, then
jured insured did not have an emergency med-                    we will limit reimbursement to 80 percent
ical condition.                                                 of the maximum reimbursable allowance
We will limit payment of Medical Expenses de-                   under workers' compensation, as deter-
scribed in the Insuring Agreement of this poli-                 mined under s. 440.13, Florida Statutes,
cys No-Fault Coverage to 80% of a properly                     and rules adopted thereunder which are in
billed and documented reasonable charge, but                    effect at the time such services, supplies,
in no event will we pay more than 80% of the                    or care is provided. Services, supplies, or
following No-Fault Act schedule of maxi-                       care that is not reimbursable under Medi-
mum charges including the use of Medicare                      care or workers compensation (Florida
coding policies and payment methodologies of                    Rules of Procedure for Workers Compen-
the federal Centers for Medicare and Medicaid                   sation Adjudication) will not be reim-
Services, including applicable modifiers:                       bursed by us.
a. For emergency transport and treatment by                For purposes of the above, the applicable fee
     providers licensed under chapter 401, Flor-           schedule or payment limitation under Medicare
     ida Statutes, 200 percent of Medicare.                is the fee schedule or payment limitation in ef-
b. For emergency services and care provided                fect on March 1 of the year in which the ser-
     by a hospital licensed under chapter 395,             vices, supplies, or care is rendered and for the
     Florida Statutes, 75 percent of the hospi-            area in which such services, supplies, or care is
     tal's usual and customary charges.                    rendered, and the applicable fee schedule or
                                                           payment limitation applies throughout the re-
c. For emergency services and care as de-                  mainder of that year, notwithstanding any sub-
     fined by s. 395.002, Florida Statutes, pro-           sequent change made to the fee schedule or
     vided in a facility licensed under chapter            payment limitation, except that it will not be
     395, Florida Statutes, rendered by a physi-           less than the allowable amount under the appli-
     cian or dentist, and related hospital inpa-           cable schedule of Medicare Part B for 2007 for
     tient services rendered by a physician or             medical services, supplies, and care subject to
     dentist, the usual and customary charges in           Medicare Part B.
     the community.
                                                      3.   We will pay a Death Benefit of $5,000 per
d. For hospital inpatient services, other than             deceased individual insured. Death Benefits
     emergency services and care, 200 percent              are in addition to the Medical Expenses, In-
     of the Medicare Part A prospective pay-               come Loss, and Replacement Services Loss
     ment applicable to the specific hospital              limit.
     providing the inpatient services.
                                                      4.   SCHEDULE
e. For hospital outpatient services, other than
     emergency services and care, 200 percent               Coverage        Income        Income Loss
     of the Medicare Part A Ambulatory Pay-                 Symbol          Loss          Benefits
     ment Classification for the specific hospi-                            Benefits      Eliminated
     tal providing the outpatient services.                                 Eliminated    For Named
f. For all other medical services, supplies,                                For           Insureds
     and care, 200 percent of the allowable                                 Named         Dependent
     amount under:                                                          Insureds      Relatives
     (I) The participating physicians fee                   P10             No            No
           schedule of Medicare Part B, except              P14             Yes           Yes
           as provided in sub-sub-subparagraphs
           (II) and (III).                                  P19             Yes           No

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Application of Any Deductible and Workers                     a.   by or on behalf of any person or organiza-
Compensation Offset                                                 tion who is or may be held legally liable
1. The deductible amount, if any, is shown on the                   for the bodily injury to the insured; or
     Declarations Page beside your coverage sym-               b.   for bodily injury under Liability Coverage
     bol. The deductible amount does not apply to                   of any policy issued by the State Farm
     Death Benefits.                                                Companies to any named insured or any
     The deductible amount applies to:                              relative;
     a. each named insured if N follows the de-         2.  that:
          ductible amount; or                                 a. have already been paid;
     b. each named insured and each dependent                 b. could have been paid; or
          relative if N does not follow the deduct-         c. could be paid
          ible amount.
     Any deductible will be applied to 100% of                to or for the insured under other no-fault coverage,
     properly billed and documented Medical Ex-               any disability benefits law, or similar law; or
     penses, properly documented Income Loss,             3. that have already been paid as expenses under
     and properly documented Replacement Ser-                 Medical Payments Coverage of this policy, the
     vices Loss that are eligible to be paid under            medical payments coverage of any other poli-
     this coverage. The deductible will be applied            cy, or other similar vehicle insurance.
     to such expenses and losses upon our receipt of
     reasonable documented proof of the expenses          Exclusions
     and losses and the amount of expenses and            THERE IS NO COVERAGE FOR:
     losses incurred.
                                                          1. BODILY INJURY TO:
2. After any applicable deductible has been ap-
     plied, we will pay the balance of properly               a. ANY PEDESTRIAN NOT A RESIDENT
                                                                    OF FLORIDA; OR
     billed and documented Medical Expenses, In-
     come Loss, and Replacement Services Loss                 b. ANY PERSON ENTITLED TO NO-
     in accordance with the percentages and limits                  FAULT BENEFITS FROM:
     as described in the section titled Limits.                     (1) THE OWNER OF A MOTOR VEHI-
                                                                         CLE OTHER THAN A NAMED IN-
3. We will reduce the amount payable as determined                       SURED; OR
     in item 2. above by any workers compensation
     benefits received for the same loss or expense.                (2) THAT OWNERS INSURER.
Partial Payment or Rejection of a Claim                       This exclusion (1.) does not apply to any
                                                              named insured or any relative;
If we pay only a portion of a claim or reject a claim
due to an alleged error in the claim, then we shall, at   2. ANY NAMED INSURED OR RELATIVE
the time of the partial payment or rejection, provide         WHO SUSTAINED BODILY INJURY
an itemized specification or explanation of benefits          WHILE OCCUPYING A MOTOR VEHICLE
due to the specified error. Upon receiving the speci-         OWNED BY THE NAMED INSURED AND
fication or explanation, the person making the                NOT INSURED UNDER THIS POLICY;
claim, at the person's option and without waiving         3. ANY INSURED PERSON:
any other legal remedy for payment, has 15 days to
submit a revised claim, which shall be considered a           a. WHOSE CONDUCT CONTRIBUTED
timely submission of written notice of a claim.                     TO HIS OR HER BODILY INJURY UN-
In a dispute between the insured and us, or between                 DER ANY OF THE FOLLOWING CIR-
an assignee of the insureds rights and us, upon                    CUMSTANCES:
request, we will notify the insured or the assignee                 (1) CAUSING BODILY INJURY TO
that the policy limits under this section have been                      HIMSELF OR HERSELF INTEN-
reached within 15 days after the limits have been                        TIONALLY; OR
reached.
Nonduplication                                                      (2) WHILE COMMITTING A FELONY;
We will not pay under No-Fault Coverage any ben-              b. WHOSE BODILY INJURY OCCURRED
efits:                                                              WHILE:
1. that have already been paid to or for the insured:

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         (1) DRIVING YOUR CAR OR A NEW-                      a.  the No-Fault Coverage limits of such poli-
              LY ACQUIRED CAR WITHOUT                            cies shall not be added together to deter-
              YOUR PERMISSION; OR                                mine the most that may be paid; and
         (2) OCCUPYING A MOTOR VEHICLE                     b. the maximum amount that may be paid from
              LOCATED FOR USE AS A DWELL-                        all such policies combined is the single high-
                                                                 est applicable limit provided by any one of
              ING OR PREMISES;                                   the policies. We may choose one or more
    c. WHO OWNS A MOTOR VEHICLE SUB-                             policies from which to make payment.
         JECT TO THE NO-FAULT ACT. This ex-             2. If No-Fault Coverage provided by this policy
         clusion (3.c.) does not apply to:                 and one or more other vehicle policies issued to
         (1) any named insured;                            any named insured or any relative by one or
         (2) the spouse of any named insured; and          more sources other than the State Farm Com-
                                                           panies apply to the same bodily injury, then:
         (3) any relative while occupying your car         a. the No-Fault Coverage limits of such poli-
              if the accident occurs outside Florida;            cies shall not be added together to deter-
              OR                                                 mine the most that may be paid;
    d. WHO REFUSES TO:                                     b. the maximum amount that may be paid from
         (1) SUBMIT TO, COMPLETE, OR                             all such policies combined is the single high-
              FAILS TO APPEAR AT AN EXAM-                        est applicable limit provided by any one of the
              INATION UNDER OATH; OR                             policies, subject to our pro rata share of the
         (2) PROVIDE, COMPLETE, OR FAILS                         highest applicable limit provided by any one
              TO APPEAR AT A STATEMENT                           of the policies; and
              UNDER OATH;                                  c. we are entitled to recover from each insur-
4. INCOME LOSS WHEN THE SCHEDULE                                 er that is liable to pay no-fault coverage
    SHOWS INCOME LOSS BENEFITS ARE                               benefits to or for the insured who sus-
    ELIMINATED UNDER YOUR COVERAGE                               tained bodily injury, an equitable pro rata
    SYMBOL;                                                      share of benefits paid and expenses in-
                                                                 curred in processing the claim.
5. ANY MASSAGE AS DEFINED IN S.                         Our Payment Options
    480.033, FLORIDA STATUTES, OR ACU-
    PUNCTURE AS DEFINED IN S. 457.102,                  We may, at our option, make payment to one or
    FLORIDA STATUTES, REGARDLESS OF                     more of the following:
    THE PERSON OR ENTITY PROVIDING                      1. The insured;
    THE MASSAGE OR ACUPUNCTURE; OR
                                                        2. The insureds surviving spouse;
6. ANY SERVICES, CARE, TREATMENT, OR
    SUPPLIES PROVIDED BY ANY MASSAGE                    3. A parent or guardian of the insured, if the insured
    THERAPIST OR ANY ACUPUNCTURIST.                        is a minor or an incompetent person;
If Other No-Fault Coverage Applies                      4. A person authorized by law to receive such pay-
                                                           ment;
1. If No-Fault Coverage provided by this policy
    and one or more other vehicle policies issued to    5. Any person or organization that provides the
    any named insured or any relative by the State         medical services or funeral services; or
    Farm Companies apply to the same bodily in-         6. Any person appearing to us to be equitably
    jury, then:                                            entitled to receive such payment.




                               MEDICAL PAYMENTS COVERAGE
This policy provides Medical Payments Coverage          1.   while occupying a motor vehicle;
if C is shown under SYMBOLS on the Dec-             2.   through being struck as a pedestrian by a mo-
larations Page.                                              tor vehicle; or
Additional Definition                                   3.   through being struck as a pedestrian by a mo-
                                                             torcycle of a type required to be licensed for
Insured means named insureds and relatives:                  use on Florida highways.
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Insuring Agreement                                               (2) a dentist licensed under chapter 466 of
1. Medical Payments Coverage is excess over No-                        the Florida Statutes;
    Fault Coverage. The no-fault deductible, if any, is          (3) a chiropractic physician licensed un-
    not payable under Medical Payments Coverage.                       der chapter 460 of the Florida Statues;
2. We will pay properly billed and documented                          or
    medical expenses for services and care that are              (4) to the extent permitted by applicable
    incurred because of bodily injury to an insured                    law and under the supervision of a
    caused by an accident resulting from the own-                      person described in (1), (2), or (3)
    ership, maintenance, or use of a motor vehicle,                    immediately above;
    but only:                                                          (a) a physician assistant licensed un-
    a. if that insured receives initial services and                        der chapter 458 or chapter 459 of
         care from a provider described in A. below                         the Florida Statutes; or
         within 14 days after the motor vehicle acci-                  (b) an advanced registered nurse
         dent that caused bodily injury to that insured;                    practitioner licensed under chap-
         and                                                                ter 464 of the Florida Statutes;
    b. if such services and care are provided                               and
         within three years after the motor vehicle           C. follow-up services and care consistent with
         accident that caused bodily injury to that
         insured.                                                the underlying medical diagnosis rendered
                                                                 pursuant to A. above which may only be
    We will not pay for any medical expenses if                  provided by the following persons or enti-
    the insured does not receive initial services and            ties:
    care from a provider described in A. below
    within 14 days after the motor vehicle accident              (1) a hospital or ambulatory surgical cen-
    that caused bodily injury to that insured.                         ter licensed under chapter 395 of the
    We will only pay medical expenses for:                             Florida Statutes;
    A. initial services and care:                                (2) an entity wholly owned by one or
                                                                       more physicians licensed under chap-
         (1) lawfully provided, supervised, ordered                    ter 458 or 459 of the Florida Statutes,
              or prescribed by:                                        chiropractic physicians licensed under
              (a) a physician licensed under chap-                     chapter 460 of the Florida Statutes or
                    ter 458 or chapter 459 of the Flor-                dentists licensed under chapter 466 of
                    ida Statutes;                                      the Florida Statutes, or by such practi-
                                                                       tioners and the spouse, parent, child,
              (b) a dentist licensed under chapter                     or sibling of such practitioners;
                    466 of the Florida Statutes; or
                                                                 (3) an entity that owns or is wholly
              (c) a chiropractic physician licensed                    owned, directly or indirectly, by a
                    under chapter 460 of the Florida                   hospital or hospitals;
                    Statutes;
         (2) provided in a hospital or facility that             (4) a physical therapist licensed under
              owns, or is wholly owned by, a hospi-                    chapter 486 of the Florida Statutes,
              tal; or                                                  based upon referral by a provider de-
                                                                       scribed in B. above;
         (3) provided by a person or entity li-                  (5) a health care clinic licensed under part
              censed under part III of chapter 401 of                  X of chapter 400 of the Florida Stat-
              the Florida Statutes which provides
              emergency transportation and treat-                      utes which is accredited by the Joint
              ment;                                                    Commission on Accreditation of
                                                                       Healthcare Organizations, the Ameri-
    B. upon referral by a provider described in A.                     can Osteopathic Association, the
         above, follow-up services and care con-                       Commission on Accreditation of Re-
         sistent with the underlying medical diag-                     habilitation Facilities, or the Accredi-
         nosis rendered pursuant to A. above which                     tation Association for Ambulatory
         may be provided, supervised, ordered, or                      Health Care, Inc., or
         prescribed only by:
                                                                       (a) has a medical director licensed
         (1) a physician or osteopathic physician                           under chapter 458, chapter 459,
              licensed under chapter 458 or chapter                         or chapter 460 of the Florida
              459 of the Florida Statutes;                                  Statutes;

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              (b) has been continuously licensed          1.   Emergency Medical Condition
                   for more than three years or is a           a. The Medical Payments Coverage limit for
                   publicly traded corporation that                 an insured who has been determined to
                   issues securities traded on an ex-               have an emergency medical condition is
                   change registered with the United                shown on the Declarations Page under
                   States Securities and Exchange                   Medical Payments Coverage  Emergen-
                   Commission as a national securi-                 cy Medical Condition Limit  Each Per-
                   ties exchange; and                               son. This limit is the most we will pay
                                                                    for medical expenses and for funeral ex-
              (c) provides at least four of the fol-                penses combined that are incurred by or on
                   lowing medical specialties:                      behalf of any one insured as a result of
                   i. general medicine;                             any one accident if the insured has been
                                                                    determined to have an emergency medical
                   ii. radiography;                                 condition by a physician, a dentist, a phy-
                   iii. orthopedic medicine;                        sician assistant, or an advanced registered
                                                                    nurse practitioner described in 2.A. or 2.B.
                   iv. physical medicine;                           under the Insuring Agreement of this pol-
                   v. physical therapy;                             icys Medical Payments Coverage regard-
                   vi. physical rehabilitation;                     less of the number of:
                   vii. prescribing or dispensing                   (1) insureds;
                         outpatient prescription medi-              (2) claims made;
                         cation; or
                                                                    (3) vehicles insured; or
                   viii. laboratory services.
                                                                    (4) vehicles involved in the accident.
3. We will pay funeral expenses incurred for an
     insured who dies within three years immedi-               b. Subject to the limit shown on the Declara-
     ately following the date of a motor vehicle                    tions Page, as described in 1.a. above, the
     accident if the death is a direct result of bodily             most we will pay for funeral expenses in-
     injury sustained in such accident.                             curred for any one insured is $3,000.
Determining Medical Expenses                              2.   Not An Emergency Medical Condition
We have the right to:                                          The Medical Payments Coverage limit for an
                                                               insured who has been determined to not have
1. obtain and use:                                             an emergency medical condition is shown on
     a. utilization reviews;                                   the Declarations Page under Medical Pay-
                                                               ments Coverage  Not An Emergency Medical
     b. peer reviews; and                                      Condition Limit  Each Person. This limit is
     c. medical bill reviews                                   the most we will pay for medical expenses and
     to determine if the incurred expenses are rea-            for funeral expenses combined that are incurred
                                                               by or on behalf of any one insured as a result
     sonable charges and medically necessary for               of any one accident if the insured has been de-
     the bodily injury sustained.                              termined to not have an emergency medical
2. use a medical examination of the insured to                 condition by a healthcare provider described in
     determine if:                                             2.A. or 2.B. under the Insuring Agreement of
     a. the bodily injury was caused by a motor                this policys Medical Payments Coverage, re-
          vehicle accident; and                                gardless of the number of:
     b. the expenses incurred are medically neces-             a. insureds;
          sary.                                                b. claims made;
3. enter into a contract with a third party that has           c. vehicles insured; or
     an agreement with the insureds healthcare                d. vehicles involved in the accident.
     provider to charge fees as determined by that
     agreement.                                           3.   In no event will we pay more than the follow-
Limits                                                         ing No-Fault Act schedule of maximum
                                                               charges including the use of Medicare coding
The Medical Payments Coverage limit is dependent               policies and payment methodologies of the
upon determination of an emergency medical con-                federal Centers for Medicare and Medicaid
dition and is shown on the Declarations Page.                  Services, including applicable modifiers:

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a.   For emergency transport and treatment by           For purposes of the above, the applicable fee
     providers licensed under chapter 401, Flor-        schedule or payment limitation under Medicare
     ida Statutes, 200 percent of Medicare.             is the fee schedule or payment limitation in ef-
b.   For emergency services and care provided           fect on March 1 of the year in which the ser-
     by a hospital licensed under chapter 395,          vices, supplies, or care is rendered and for the
     Florida Statutes, 75 percent of the hospi-         area in which such services, supplies, or care is
     tal's usual and customary charges.                 rendered, and the applicable fee schedule or
                                                        payment limitation applies throughout the re-
c.   For emergency services and care as de-             mainder of that year, notwithstanding any sub-
     fined by s. 395.002, Florida Statutes, pro-        sequent change made to the fee schedule or
     vided in a facility licensed under chapter         payment limitation, except that it will not be
     395, Florida Statutes, rendered by a physi-        less than the allowable amount under the appli-
     cian or dentist, and related hospital inpa-        cable schedule of Medicare Part B for 2007 for
     tient services rendered by a physician or          medical services, supplies, and care subject to
     dentist, the usual and customary charges in        Medicare Part B.
     the community.                                 Nonduplication
d.   For hospital inpatient services, other than    We will not pay under Medical Payments Coverage
     emergency services and care, 200 percent       any damages or expenses:
     of the Medicare Part A prospective pay-
     ment applicable to the specific hospital       1. that have already been paid to or for the insured:
     providing the inpatient services.                  a. by or on behalf of any person or organiza-
e.   For hospital outpatient services, other than            tion who is or may be held legally liable
     emergency services and care, 200 percent                for the bodily injury to the insured; or
     of the Medicare Part A Ambulatory Pay-             b. for bodily injury under Liability Coverage
     ment Classification for the specific hospi-             of any policy issued by the State Farm
     tal providing the outpatient services.                  Companies to any named insured or any
                                                             relative; or
f.   For all other medical services, supplies,
     and care, 200 percent of the allowable         2. that have already been paid under No-Fault
     amount under:                                      Coverage or Uninsured Motor Vehicle Cover-
                                                        age of this policy, the no-fault coverage, medi-
     (I) The participating physicians fee               cal payments coverage, or uninsured motor
           schedule of Medicare Part B, except          vehicle coverage of any other policy, or other
           as provided in sub-sub-subparagraphs         similar vehicle insurance.
           (II) and (III).                          Exclusions
     (II) Medicare Part B, in the case of ser-      THERE IS NO COVERAGE FOR AN INSURED:
           vices, supplies, and care provided by    1. UNTIL THE MEDICAL EXPENSE BENE-
           ambulatory surgical centers and clini-       FITS OF ALL NO-FAULT COVERAGE
           cal laboratories.                            AVAILABLE FROM ALL SOURCES HAVE
     (III) The Durable Medical Equipment                BEEN EXHAUSTED. This does not apply to
           Prosthetics/Orthotics and Supplies fee       the 20% of medical expenses that are not paid
                                                        under no-fault coverage because of the 80%
           schedule of Medicare Part B, in the          limitation;
           case of durable medical equipment.
                                                    2. WHO REFUSES TO:
     However, if such services, supplies, or care
     is not reimbursable under Medicare Part B,         a. SUBMIT TO, COMPLETE, OR FAILS
     as provided in this sub-sub-subparagraph,               TO APPEAR AT AN EXAMINATION
     then we will limit reimbursement to the                 UNDER OATH; OR
     maximum reimbursable allowance under               b. PROVIDE, COMPLETE, OR FAILS TO
     workers' compensation, as determined un-                APPEAR AT A STATEMENT UNDER
     der s. 440.13, Florida Statutes, and rules              OATH;
     adopted thereunder which are in effect at      3. FOR ANY MEDICAL EXPENSES THAT
     the time such services, supplies, or care is
     provided. Services, supplies, or care that         ARE NOT PAYABLE UNDER NO-FAULT
     is not reimbursable under Medicare or              COVERAGE. This does not include:
     workers compensation (Florida Rules of            a. the 20% of medical expenses that are not
     Procedure for Workers Compensation Ad-                 paid under no-fault coverage because of
     judication) will not be reimbursed by us.               the 80% limitation;
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     b.  medical expenses not paid because the                a.   the use of a private passenger car on a
         medical expense benefits of all no-fault                  share-the-expense basis; or
         coverage available from all sources have             b. an insured while occupying a non-owned
         been exhausted;                                           car as a passenger;
     c. medical expenses for bodily injury while          10. WHILE MAINTAINING OR USING A VE-
         occupying a non-owned car while outside              HICLE IN CONNECTION WITH THAT IN-
         Florida, but within the area described un-           SUREDS EMPLOYMENT IN OR ENGAGE-
         der Where Coverage Applies for Medical               MENT OF ANY KIND IN A CAR BUSI-
         Payments Coverage; and                               NESS. This exclusion does not apply to:
     d. medical expenses for bodily injury sus-               a. any named insured;
         tained through being struck as a pedestrian
         by a:                                                b. any relative; or
         (1) motor vehicle while outside Florida,             c. any agent, employee, or business partner
               but within the area described under                 of a. or b. above
               Where Coverage Applies for Medi-               while maintaining or using your car, a newly
               cal Payments Coverage; or                      acquired car, a temporary substitute car, or a
         (2) motorcycle of a type required to be li-          trailer owned by you;
               censed for use on Florida highways;
                                                          11. WHILE THAT INSURED IS VALET PARK-
4.   FOR MILEAGE COSTS FOR THE USE OF A                       ING A VEHICLE;
     PERSONAL VEHICLE;
5.   FOR ANY INTEREST CHARGES;                            12. WHILE MAINTAINING OR USING A NON-
                                                              OWNED CAR IN ANY BUSINESS OR OC-
6.   IF ANY WORKERS COMPENSATION                             CUPATION OTHER THAN A CAR BUSI-
     LAW OR ANY SIMILAR LAW APPLIES TO                        NESS OR VALET PARKING. This exclusion
     THAT INSUREDS BODILY INJURY;                            does not apply to the maintenance or use of a
7.   WHO:                                                     private passenger car;
     a. IS OCCUPYING OR THROUGH BEING                     13. WHO IS EITHER OCCUPYING OR
         STRUCK AS A PEDESTRIAN BY A                          STRUCK AS A PEDESTRIAN BY A VEHI-
         VEHICLE OWNED BY ANY NAMED                           CLE THAT IS LOCATED FOR USE AS A
         INSURED OR ANY RELATIVE WHICH
         IS NOT INSURED UNDER THIS POLI-                      DWELLING OR OTHER PREMISES;
         CY; OR                                           14. WHO IS STRUCK AS A PEDESTRIAN BY
     b. AT THE TIME OF THE ACCIDENT                           A VEHICLE THAT:
         OWNS A MOTOR VEHICLE SUBJECT                         a. IS DESIGNED FOR USE PRIMARILY
         TO THE NO-FAULT ACT AND IS NOT                            OFF PUBLIC ROADS WHILE OFF
         INSURED FOR THE COVERAGE RE-                              PUBLIC ROADS; OR
         QUIRED BY THE NO-FAULT ACT.                          b. RUNS ON RAILS OR CRAWLER-
         This exclusion (7.b.) does not apply to:                  TREADS;
         (1) any named insured;                           15. WHOSE BODILY INJURY RESULTS FROM
         (2) the spouse of any named insured; and             WAR OF ANY KIND;
         (3) any relative while occupying your            16. WHOSE BODILY INJURY RESULTS
               car, a newly acquired car, a tempo-            FROM:
               rary substitute car, or a non-owned
               car if the accident occurs outside Flor-       a. NUCLEAR REACTION;
               ida, but within the area described un-         b. RADIATION OR RADIOACTIVE CON-
               der Where Coverage Applies for                      TAMINATION FROM ANY SOURCE;
               Medical Payments Coverage;                          OR
8.   WHO IS OCCUPYING A VEHICLE WHILE                         c. THE ACCIDENTAL OR INTENTIONAL
     IT IS RENTED TO OR LEASED TO OTH-
     ERS BY AN INSURED;                                            DETONATION OF, OR RELEASE OF
                                                                   RADIATION FROM, ANY NUCLEAR
9.   WHO IS OCCUPYING A VEHICLE WHILE                              OR RADIOACTIVE DEVICE;
     IT IS BEING USED TO CARRY PERSONS
     FOR A CHARGE. This exclusion does not                17. WHOSE BODILY INJURY RESULTS FROM
     apply to:                                                EXPOSURE TO FUNGI;
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18. WHO IS OCCUPYING A VEHICLE WHILE                                    which applies to the accident as pri-
    IT IS:                                                              mary coverage; and
    a. BEING PREPARED FOR, USED IN                                 (2) medical payments coverage or other
         PRACTICE FOR, OR OPERATED IN                                   similar vehicle insurance provided by
         ANY RACING CONTEST, SPEED                                      one or more sources other than the State
         CONTEST, HILL-CLIMBING CON-
         TEST, JUMPING CONTEST, OR ANY                                  Farm Companies also applies as pri-
         SIMILAR CONTEST; OR                                            mary coverage for the same accident,
    b. ON A TRACK DESIGNED PRIMARILY                               then we will pay the proportion of medical
         FOR RACING OR HIGH-SPEED DRIV-                            expenses and funeral expenses payable as
         ING. This exclusion (18.b.) does not apply                primary that our applicable limit bears to the
         if the vehicle is being used in connection                sum of our applicable limit and the limits of
         with an activity other than racing, high-                 all other medical payments coverage or simi-
         speed driving, or any type of competitive                 lar vehicle insurance that apply as primary
         driving;                                                  coverage.
19. FOR ANY MASSAGE AS DEFINED IN                              b. If:
    S.480.033, FLORIDA STATUTES, OR ACU-                           (1) more than one vehicle policy issued to
    PUNCTURE AS DEFINED IN S.457.102,                                   any named insured or any relative by
    FLORIDA STATUTES, REGARDLESS OF                                     the State Farm Companies provides
    THE PERSON OR ENTITY PROVIDING                                      Medical Payments Coverage or other
    THE MASSAGE OR ACUPUNCTURE; OR                                      similar vehicle insurance which applies
20. FOR ANY SERVICES, CARE, TREATMENT,                                  to the accident as primary coverage;
    OR SUPPLIES PROVIDED BY ANY MAS-                                    and
    SAGE THERAPIST OR ANY ACUPUNC-                                 (2) medical payments coverage or other
    TURIST.                                                             similar vehicle insurance provided by
If Other Medical Payments Coverage or Similar                           one or more sources other than the State
Vehicle Insurance Applies                                               Farm Companies also applies as pri-
                                                                        mary coverage for the same accident,
1. An insured shall not recover for the same med-
    ical expenses or funeral expenses under both                   then the State Farm Companies will pay
    this coverage and other medical payments cov-                  the proportion of medical expenses and
    erage or similar vehicle insurance.                            funeral expenses payable as primary that
2. If Medical Payments Coverage provided by                        the maximum amount that may be paid by
    this policy and one or more other vehicle poli-                the State Farm Companies as determined
    cies issued to any named insured or any rela-                  in 2. above bears to the sum of such
    tive by the State Farm Companies apply to the                  amount and the limits of all other medical
    same bodily injury, then:                                      payments coverage or similar vehicle in-
    a. the Medical Payments Coverage limits of                     surance that apply as primary coverage.
         such policies shall not be added together to     4.   Except as provided in 3. above, the Medical
         determine the most that may be paid; and              Payments Coverage provided by this policy
    b. the maximum amount that may be paid from                applies as excess coverage.
         all such policies combined is the single high-        a. If:
         est applicable limit provided by any one of
         the policies. We may choose one or more                   (1) this is the only vehicle policy issued to
         policies from which to make payment.                           any named insured or any relative by
3. The Medical Payments Coverage provided by                            the State Farm Companies that pro-
    this policy applies as primary coverage for an                      vides Medical Payments Coverage or
    insured who sustains bodily injury while oc-                        other similar vehicle insurance which
    cupying your car or a trailer attached to it.                       applies to the accident as excess cov-
    a. If:                                                              erage; and
         (1) this is the only vehicle policy issued                (2) medical payments coverage or other sim-
              to any named insured or any relative                      ilar vehicle insurance provided by one or
              by the State Farm Companies that                          more sources other than the State Farm
              provides Medical Payments Coverage                        Companies also applies as excess cover-
              or other similar vehicle insurance                        age for the same accident,

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         then we will pay the proportion of medical             then the State Farm Companies will pay
         expenses and funeral expenses payable as               the proportion of medical expenses and
         excess that our applicable limit bears to              funeral expenses payable as excess that the
         the sum of our applicable limit and the                maximum amount that may be paid by the
         limits of all other medical payments                   State Farm Companies as determined in
                                                                2. above bears to the sum of such amount
         coverage or similar vehicle insurance that             and the limits of all other medical pay-
         apply as excess coverage.                              ments coverage or similar vehicle insur-
    b.   If:                                                    ance that apply as excess coverage.
                                                       Our Payment Options
         (1) more than one vehicle policy issued to
             any named insured or any relative by      We may, at our option, make payment to one or
             the State Farm Companies provides         more of the following:
             Medical Payments Coverage or other        1. The insured;
             similar vehicle insurance which applies   2. The insureds surviving spouse;
             to the accident as excess coverage;
             and                                       3. A parent or guardian of the insured, if the in-
                                                          sured is a minor or an incompetent person;
         (2) medical payments coverage or other        4. A person authorized by law to receive such pay-
             similar vehicle insurance provided by        ment;
             one or more sources other than the        5. Any person or organization that provides the med-
             State Farm Companies also applies            ically necessary services or funeral services; or
             as excess coverage for the same acci-
             dent,                                     6. Any person appearing to us to be equitably entitled
                                                          to receive such payment.




                         UNINSURED MOTOR VEHICLE COVERAGE
                                      (Stacking)
This policy provides Uninsured Motor Vehicle           Uninsured Motor Vehicle means a land motor
Coverage if U is shown under SYMBOLS on            vehicle and a trailer attached to such land motor
the Declarations Page.                                 vehicle:
Additional Definitions                                 1. the ownership, maintenance, and use of which is:
Insured means:                                             a. neither insured, nor self-insured, nor bond-
                                                                ed for bodily injury liability at the time of
1. you;                                                         the accident; or
2. resident relatives;                                     b. insured, self-insured, or bonded for bodily
3. any other person while occupying:                            injury liability at the time of the accident;
                                                                but
    a. your car;
                                                                (1) the limits are less than required by the
    b. a newly acquired car;                                         financial responsibility act of the state
    c. a temporary substitute car; or                                of Florida;
    d. a trailer attached to a car described in a.,             (2) the limits of liability of the insurance,
         b., or c. above.                                            self-insurance, or bond are less than
                                                                     the damages for bodily injury sus-
    Such vehicle must be used with your express or                   tained by the insured; or
    implied permission. Such other person occu-                 (3) the entity providing the financial re-
    pying a vehicle used to carry persons for a                      sponsibility:
    charge is not an insured; and                                    (a) denies that it provides liability cov-
4. any person entitled to recover compensatory                            erage for compensatory damages
    damages as a result of bodily injury to an in-                        that result from the accident; or
    sured as defined in 1., 2., or 3. above.                         (b) is or becomes insolvent; or

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2.   the owner or driver:                               2.   inform the insured in writing that we do not
     a. of which could not reasonably have been              consent, then the insured may not accept such
          identified;                                        settlement offer and:
     b. remains unknown; and                                 a. we will make payment to the insured in an
                                                                  amount equal to such settlement offer.
     c. that causes bodily injury to the insured.                 This payment is considered a payment
Uninsured Motor Vehicle does not include a land                   made by or on behalf of the owner or driv-
motor vehicle or trailer:                                         er of the uninsured motor vehicle; and
1. whose ownership, maintenance, or use is                   b. any recovery from or on behalf of the
     provided Liability Coverage by this policy.                  owner or driver of the uninsured motor
     However, any such vehicle will be deemed                     vehicle shall first be used to repay us.
     to be an uninsured motor vehicle for bodily        Deciding Fault and Amount
     injury sustained by you or a resident rela-
     tive while the vehicle is being operated by a      1. The insured and we must agree to the answers
     person other than you or a resident rela-               to the following two questions:
     tive;                                                   a. Is the insured legally entitled to recover
2. owned by, rented to, or furnished or available                 compensatory damages from the owner or
     for the regular use of you or a resident rela-               driver of the uninsured motor vehicle?
     tive;                                                   b. If the insured and we agree that the answer
3. designed for use primarily off public roads                    to 1.a. above is yes, then what is the
     except while on public roads;                                amount of the compensatory damages that
                                                                  the insured is legally entitled to recover
4. while located for use as a dwelling or other                   from the owner or driver of the uninsured
     premises; or                                                 motor vehicle?
5. whose owner or operator could have been rea-         2. If there is no agreement on the answer to either
     sonably identified.                                     question in 1. above, then the disagreement
Insuring Agreement                                           shall be resolved by mediation, arbitration, or
                                                             litigation as outlined in the Mediation, Arbi-
1. We will pay compensatory damages for bodily               tration, and Legal Action Against Us provi-
     injury an insured is legally entitled to recover        sions under GENERAL TERMS.
     from the owner or driver of an uninsured mo-
     tor vehicle.                                       Limits
2. The bodily injury for which we will pay com-         The Uninsured Motor Vehicle Coverage limits are
     pensatory damages must be:                         shown on the Declarations Page under Uninsured
                                                        Motor Vehicle Coverage  Bodily Injury Limits 
     a. sustained by an insured;                        Each Person, Each Accident.
     b. caused by an accident that involves the op-     The limit shown under Each Person is the most
          eration, maintenance, or use of an unin-      we will pay for the sum of:
          sured motor vehicle; and                      1. all damages resulting from bodily injury to any
     c. a serious injury as described in section             one insured injured in any one accident; and
          627.737(2) of the Florida Insurance Code      2. all damages, including damages for emotional
          before we will pay for damages consisting          distress, sustained by other insureds as a direct
          of pain, suffering, mental anguish, or in-         result of that bodily injury.
          convenience.                                  The limit shown under Each Accident is the most
Consent to Settlement                                   we will pay, subject to the limit for Each Person,
The insured must inform us of a settlement offer, if    for all damages and all emotional distress resulting
any, proposed by or on behalf of the owner or driver    from bodily injury to two or more insureds who
of the uninsured motor vehicle, and the insured         sustained damages or emotional distress in the same
must request our written consent to accept such         accident.
settlement offer.                                       These Uninsured Motor Vehicle Coverage limits are
If we:                                                  the most we will pay regardless of the number of:
1. consent in writing, then the insured may accept      1. insureds;
     such settlement offer.                             2. claims made;

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3. vehicles insured; or                                      by the State Farm Companies apply to the
4. vehicles involved in the accident.                        same bodily injury sustained by a person other
                                                             than you or any resident relative, then:
Nonduplication
                                                             a. the Uninsured Motor Vehicle Coverage
We will not pay under Uninsured Motor Vehicle                      limits of such policies will not be added
Coverage any damages:                                              together to determine the most that may be
1. that have already been paid to or for the insured:              paid; and
     a. by or on behalf of any person or organiza-           b. the maximum amount that may be paid
          tion who is or may be held legally liable                from all such policies combined is the sin-
          for the bodily injury to the insured; or                 gle highest applicable limit provided by any
                                                                   one of the policies. We may choose one or
     b. for bodily injury under Liability Coverage                 more policies from which to make payment.
          of any policy issued by the State Farm
          Companies to you or any resident relative;      2. The Uninsured Motor Vehicle Coverage pro-
                                                             vided by this policy applies as primary cover-
2. that:                                                     age for an insured who sustains bodily injury
     a. have already been paid;                              while occupying your car.
     b. could have been paid; or                             If uninsured motor vehicle coverage is provid-
     c. could be paid                                        ed on a primary basis by one or more other
     to or for the insured under any workers com-           sources, then we will pay the proportion of
     pensation law, disability benefits law, or similar      damages that the applicable limit of this policy
     law; or                                                 bears to the total of all uninsured motor vehicle
3. that have already been paid as expenses under             coverage that applies as primary coverage.
     No-Fault Coverage or Medical Payments Cov-           3. Except as provided in 2. above, the Uninsured
     erage of this policy, the no-fault coverage or          Motor Vehicle Coverage provided by this pol-
     medical payments coverage of any other pol-             icy applies as excess coverage for an insured
     icy, or other similar vehicle insurance.                who sustains bodily injury.
Exclusions                                                   If uninsured motor vehicle coverage is provid-
THERE IS NO COVERAGE:                                        ed on an excess basis by one or more other
1. FOR AN INSURED WHO, WITHOUT OUR                           sources, then we will pay the proportion of
     WRITTEN CONSENT, SETTLES WITH ANY                       damages that the applicable limit of this policy
     PERSON OR ORGANIZATION WHO MAY                          bears to the total of all uninsured motor vehicle
     BE LIABLE FOR THE BODILY INJURY;                        coverage that applies as excess coverage.
2. TO THE EXTENT IT BENEFITS:                             4. If Uninsured Motor Vehicle Coverage provided
     a. ANY WORKERS COMPENSATION OR                         by this policy and one or more other vehicle
          DISABILITY BENEFITS INSURANCE                      policies issued to you or any resident relative
          COMPANY;                                           by the State Farm Companies apply to the
     b. A SELF-INSURER UNDER ANY                             same bodily injury, then we may choose one or
          WORKERS COMPENSATION LAW,                         more policies from which to make payment.
          DISABILITY BENEFITS LAW, OR SIM-                Our Payment Options
          ILAR LAW; OR
     c. ANY GOVERNMENT OR ANY OF ITS                      We may, at our option, make payment to one or
          POLITICAL          SUBDIVISIONS          OR     more of the following:
          AGENCIES; OR                                    1. The insured;
3. FOR PUNITIVE OR EXEMPLARY DAM-                         2. The insureds surviving spouse;
     AGES.
If Other Uninsured Motor Vehicle Coverage Applies         3. A parent or guardian of the insured, if the in-
                                                             sured is a minor or an incompetent person; or
1. If Uninsured Motor Vehicle Coverage provided
     by this policy and one or more other vehicle         4. A person authorized by law to receive such
     policies issued to you or any resident relative         payment.


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                             UNINSURED MOTOR VEHICLE COVERAGE
                                        (Non-Stacking)
This policy provides Uninsured Motor Vehicle                         c. that causes bodily injury to the insured.
Coverage if U3 is shown under SYMBOLS on                    Uninsured Motor Vehicle does not include a land
the Declarations Page.                                          motor vehicle or trailer:
Additional Definitions                                          1. whose ownership, maintenance, or use is pro-
Insured means:                                                       vided Liability Coverage by this policy. How-
1. you;                                                              ever, any such vehicle will be deemed to be an
2. resident relatives;                                               uninsured motor vehicle for bodily injury sus-
                                                                     tained by you or a resident relative while the
3. any other person while occupying:                                 vehicle is being operated by a person other
     a. your car;                                                    than you or a resident relative;
     b. a newly acquired car;                                   2. owned by, rented to, or furnished or availa-
     c. a temporary substitute car; or                               ble for the regular use of you or a resident
                                                                     relative;
     d. a trailer attached to a car described in a.,
           b., or c. above.                                     3. designed for use primarily off public roads
                                                                     except while on public roads;
     Such vehicle must be used with your express or             4. while located for use as a dwelling or other
     implied permission. Such other person occu-                     premises; or
     pying a vehicle used to carry persons for a
     charge is not an insured; and                              5. whose owner or operator could have been reason-
4. any person entitled to recover compensatory                       ably identified.
     damages as a result of bodily injury to an in-             Insuring Agreement
     sured as defined in 1., 2., and 3. above.                  1. We will pay compensatory damages for bodily
Uninsured Motor Vehicle means a land motor vehicle                   injury an insured is legally entitled to recover
and a trailer attached to such land motor vehicle:                   from the owner or driver of an uninsured mo-
1. the ownership, maintenance, and use of which is:                  tor vehicle.
     a. neither insured, nor self-insured, nor bonded           2. The bodily injury for which we will pay com-
           for bodily injury liability at the time of the            pensatory damages must be:
           accident; or                                              a. sustained by an insured;
     b. insured, self-insured, or bonded for bodily                  b. caused by an accident that involves the op-
           injury liability at the time of the accident;                  eration, maintenance, or use of an unin-
           but                                                            sured motor vehicle; and
           (1) the limits are less than required by the              c. a serious injury as described in section
                 financial responsibility act of the state of             627.737(2) of the Florida Insurance Code
                 Florida;
                                                                          before we will pay for damages consisting
           (2) the limits of liability of the insurance,                  of pain, suffering, mental anguish, or in-
                 self-insurance, or bond are less than                    convenience.
                 the damages for bodily injury sus-
                 tained by the insured; or                      Consent to Settlement
           (3) the entity providing the financial re-           The insured must inform us of a settlement offer, if
                 sponsibility:                                  any, proposed by or on behalf of the owner or driver of
                 (a) denies that it provides liability cov-     the uninsured motor vehicle, and the insured must
                      erage for compensatory damages            request our written consent to accept such settlement
                      that result from the accident; or         offer.
                 (b) is or becomes insolvent; or                If we:
2. the owner or driver:                                         1. consent in writing, then the insured may accept
                                                                     such settlement offer.
     a. of which could not reasonably have been                 2. inform the insured in writing that we do not
           identified;                                               consent, then the insured may not accept such
     b. remains unknown; and                                         settlement offer and:

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    a.    we will make payment to the insured in an      Nonduplication
          amount equal to such settlement offer. This    We will not pay under Uninsured Motor Vehicle
          payment is considered a payment made by        Coverage any damages:
          or on behalf of the owner or driver of the
          uninsured motor vehicle; and                   1. that have already been paid to or for the insured:
     b. any recovery from or on behalf of the                a. by or on behalf of any person or organiza-
          owner or driver of the uninsured motor                  tion who is or may be held legally liable
          vehicle shall first be used to repay us.                for the bodily injury to the insured; or
Deciding Fault and Amount                                    b. for bodily injury under Liability Cover-
1. The insured and we must agree to the answers                   age of any policy issued by the State
     to the following two questions:                              Farm Companies to you or any resident
                                                                  relative;
     a. Is the insured legally entitled to recover       2. that:
          compensatory damages from the owner or
          driver of the uninsured motor vehicle?             a. have already been paid;
     b. If the insured and we agree that the answer          b. could have been paid; or
          to 1.a. above is yes, then what is the             c. could be paid
          amount of the compensatory damages that
          the insured is legally entitled to recover         to or for the insured under any workers compen-
          from the owner or driver of the uninsured          sation law, disability benefits law, or similar law; or
          motor vehicle?                                 3. that have already been paid as expenses under
2. If there is no agreement on the answer to either          No-Fault Coverage or Medical Payments Cov-
     question in 1. above, then the disagreement             erage of this policy, the no-fault coverage or
     shall be resolved by mediation, arbitration, or         medical payments coverage of any other poli-
     litigation as outlined in the Mediation, Arbi-          cy, or other similar vehicle insurance.
     tration, and Legal Action Against Us provi-         Exclusions
     sions under GENERAL TERMS.
                                                         THERE IS NO COVERAGE:
Limits
                                                         1. FOR AN INSURED WHO, WITHOUT OUR
The Uninsured Motor Vehicle Coverage limits are              WRITTEN CONSENT, SETTLES WITH ANY
shown on the Declarations Page under Uninsured              PERSON OR ORGANIZATION WHO MAY BE
Motor Vehicle Coverage  Bodily Injury Limits               LIABLE FOR THE BODILY INJURY;
Each Person, Each Accident.                             2. FOR AN INSURED WHO SUSTAINS BOD-
The limit shown under Each Person is the most              ILY INJURY:
we will pay for the sum of:                                  a. WHILE OCCUPYING A VEHICLE
1. all damages resulting from bodily injury to any                OWNED BY YOU OR ANY RESIDENT
     one insured injured in any one accident; and                 RELATIVE IF IT IS NOT YOUR CAR
                                                                  OR A NEWLY ACQUIRED CAR; OR
2. all damages, including damages for emotional              b. THROUGH BEING STRUCK BY A VE-
     distress, sustained by other insureds as a direct            HICLE OWNED BY ANY RESIDENT
     result of that bodily injury.                                RELATIVE.
The limit shown under Each Accident is the most            This exclusion does not apply to the first per-
we will pay, subject to the limit for Each Person,         son shown as a named insured on the Declara-
for all damages and all emotional distress resulting         tions Page and that named insureds spouse
from bodily injury to two or more insureds who               who resides primarily with that named insured,
sustained damages or emotional distress in the same          while occupying or through being struck by a
accident.                                                    motor vehicle not owned by one or both of
                                                             them;
These Uninsured Motor Vehicle Coverage limits are        3. TO THE EXTENT IT BENEFITS:
the most we will pay regardless of the number of:
1. insureds;                                                 a. ANY WORKERS COMPENSATION OR
                                                                  DISABILITY BENEFITS INSURANCE
2. claims made;                                                   COMPANY;
3. vehicles insured; or                                      b. A SELF-INSURER UNDER ANY
4. vehicles involved in the accident.                             WORKERS COMPENSATION LAW,

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          DISABILITY BENEFITS LAW, OR SIM-                        (2) uninsured motor vehicle coverage
          ILAR LAW; OR                                                 provided by one or more sources other
     c. ANY GOVERNMENT OR ANY OF ITS                                   than the State Farm Companies also
          POLITICAL          SUBDIVISIONS          OR                  applies as primary coverage for the
          AGENCIES; OR                                                 same accident,
4. FOR PUNITIVE OR EXEMPLARY DAM-                                 then the State Farm Companies will pay
     AGES.                                                        the proportion of damages payable as pri-
                                                                  mary that the maximum amount that may
If Other Uninsured Motor Vehicle Coverage Applies                 be paid by the State Farm Companies as
1. If Uninsured Motor Vehicle Coverage provided                   determined in 1. above bears to the sum of
     by this policy and one or more other vehicle                 such amount and the limits of all other un-
     policies issued to you or any resident relative              insured motor vehicle coverage that apply
     by the State Farm Companies apply to the                     as primary coverage.
     same bodily injury, then:
     a. the Uninsured Motor Vehicle Coverage             3.   Except as provided in 2. above, the Uninsured
                                                              Motor Vehicle Coverage provided by this poli-
          limits of such policies will not be added           cy applies as excess coverage.
          together to determine the most that may be
          paid; and                                           a. If:
     b. the maximum amount that may be paid                       (1) this is the only vehicle policy issued
                                                                       to you or any resident relative by the
          from all such policies combined is the sin-                  State Farm Companies that provides
          gle highest applicable limit provided by                     Uninsured Motor Vehicle Coverage
          any one of the policies. We may choose                       which applies to the accident as ex-
          one or more policies from which to make                      cess coverage; and
          payment.                                                (2) uninsured motor vehicle coverage
2. The Uninsured Motor Vehicle Coverage pro-                           provided by one or more sources other
     vided by this policy applies as primary cover-                    than the State Farm Companies also
     age for an insured who sustains bodily injury                     applies as excess coverage for the
     while occupying your car.                                         same accident,
     a. If:                                                       then we will pay the proportion of damag-
          (1) this is the only vehicle policy issued              es payable as excess that our applicable
               to you or any resident relative by the             limit bears to the sum of our applicable
               State Farm Companies that provides                 limit and the limits of all other uninsured
               Uninsured Motor Vehicle Coverage                   motor vehicle coverage that apply as ex-
               which applies to the accident as pri-              cess coverage.
               mary coverage; and
                                                              b. If:
          (2) uninsured motor vehicle coverage                    (1) more than one vehicle policy issued to
               provided by one or more sources other                   you or any resident relative by the State
               than the State Farm Companies also
               applies as primary coverage for the                     Farm Companies provides Uninsured
                                                                       Motor Vehicle Coverage which applies to
               same accident,                                          the accident as excess coverage; and
          then we will pay the proportion of dam-                 (2) uninsured motor vehicle coverage pro-
          ages payable as primary that our applica-                    vided by one or more sources other than
          ble limit bears to the sum of our applicable                 the State Farm Companies also applies
          limit and the limits of all other uninsured                  as excess coverage for the same accident,
          motor vehicle coverage that apply as pri-
          mary coverage.                                          then the State Farm Companies will pay
     b. If:                                                       the proportion of damages payable as ex-
                                                                  cess that the maximum amount that may
          (1) more than one vehicle policy issued to              be paid by the State Farm Companies as
               you or any resident relative by the
               State Farm Companies provides Un-                  determined in 1. above bears to the sum of
               insured Motor Vehicle Coverage                     such amount and the limits of all other un-
               which applies to the accident as pri-              insured motor vehicle coverage that apply
               mary coverage; and                                 as excess coverage.
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Our Payment Options                                     3.   A parent or guardian of the insured, if the
We may, at our option, make payment to one or                insured is a minor or an incompetent person;
more of the following:                                       or
1. The insured;                                         4.   A person authorized by law to receive such
2. The insureds surviving spouse;                           payment.




                               PHYSICAL DAMAGE COVERAGES
The physical damage coverages are Comprehensive         Daily Rental Charge means the sum of:
Coverage, Collision Coverage, Emergency Road            1. the daily rental rate;
Service Coverage, and Car Rental and Travel Ex-
penses Coverage.                                        2. mileage charges; and
This policy provides:                                   3. related taxes.
1. Comprehensive Coverage if D;                       Insured means you and resident relatives.
2. Collision Coverage if G;                           Loss means:
3. Emergency Road Service Coverage if H;              1. direct, sudden, and accidental damage to; or
4. Car Rental and Travel Expenses Coverage if R1      2. total or partial theft of
is shown under SYMBOLS on the Declarations Page.      a covered vehicle. Loss does not include any re-
                                                        duction in the value of any covered vehicle after it
If a deductible applies to Comprehensive Coverage,      has been repaired, as compared to its value before it
then it is shown on the Declarations Page. The de-      was damaged.
ductible that applies to Collision Coverage is shown
on the Declarations Page.                               Loss Caused By Collision means a loss caused by:
Additional Definitions                                  1. a covered vehicle hitting or being hit by an-
                                                              other vehicle or another object; or
Covered Vehicle means:
1. your car;                                            2. the overturning of a covered vehicle.
2. a newly acquired car;                                Any loss caused by missiles, falling objects, wind-
                                                        storm, hail, fire, explosion, earthquake, water, flood,
3. a temporary substitute car;                          total or partial theft, malicious mischief, vandalism,
4. a camper that is designed to be mounted on a         riot, civil commotion, or hitting or being hit by a bird
     pickup truck and shown on the Declarations Page;   or an animal is not a Loss Caused By Collision.
5. a non-owned car while it is:                         Non-Owned Camper means a camper designed to
                                                        be mounted on a pickup truck that is in the lawful
     a. being driven by an insured; or                  possession of an insured and that neither:
     b. in the custody of an insured if at the time     1. is owned by:
          of the loss it is:
                                                              a. an insured;
          (1) not being driven; or
                                                              b. any other person who resides primarily in
          (2) being driven by a person other than an               your household; or
               insured and being occupied by an in-           c. an employer of any person described in a.
               sured;                                              or b. above; nor
6. a non-owned trailer while it is being used by        2. has been used by, rented by, or in the posses-
     an insured; and                                          sion of an insured during any part of each of
7. a non-owned camper while it is being used by               the 31 or more consecutive days immediately
     an insured;                                              prior to the date of the loss.
including its parts and its equipment that are com-     Non-Owned Trailer means a trailer that is in the
mon to the use of the vehicle as a vehicle. How-        lawful possession of an insured and that neither:
ever, parts and equipment of trailers and campers       1. is owned by:
must be securely fixed as a permanent part of the
trailer or camper.                                            a. an insured;
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    b.   any other person who resides primarily in                a.  up to one hour of labor to repair a covered
         your household; or                                           vehicle at the place of its breakdown;
    c. an employer of any person described in a.                  b. towing to the nearest repair facility where
         or b. above; nor                                             necessary repairs can be made if a covered
2. has been used by, rented by, or in the posses-                     vehicle is not drivable;
    sion of an insured during any part of each of                 c. towing a covered vehicle out of a location
    the 31 or more consecutive days immediately                       where it is stuck if the vehicle is on or
    prior to the date of the loss.                                    immediately next to a public road;
Insuring Agreements                                               d. delivery of gas, oil, battery, or tire neces-
1. Comprehensive Coverage                                             sary to return a covered vehicle to driving
                                                                      condition. We do not pay the cost of the
    a. We will pay for loss, except loss caused by                    gas, oil, battery, or tire; and
         collision, to a covered vehicle.
                                                                  e. up to one hour of labor for locksmith serv-
    b. We will pay transportation expenses in-                        ices to unlock a covered vehicle if its key
         curred by an insured as a result of the total                is lost, stolen, or locked inside the vehicle.
         theft of your car or a newly acquired car.          4.   Car Rental and Travel Expenses Coverage
         These transportation expenses are payable:
         (1) during the period that:                              a. Car Rental Expense
              (a) starts on the date you report the                   We will pay the daily rental charge in-
                   theft to us; and                                   curred when an insured rents a car from a
                                                                      car business while your car or a newly
              (b) ends on the earliest of:                            acquired car is:
                   (i) the date the vehicle is re-                    (1) not drivable; or
                         turned to your possession in                 (2) being repaired
                         a drivable condition;
                   (ii) the date we offer to pay for                  as a result of a loss which would be paya-
                         the loss if the vehicle has not              ble under Comprehensive Coverage or
                         yet been recovered; or                       Collision Coverage.
                   (iii) the date we offer to pay for                 We will pay this daily rental charge in-
                         the loss if the vehicle is re-               curred during a period that:
                         covered, but is a total loss as
                         determined by us; and                        (1) starts on the date:
         (2) during the period that:                                       (a) the vehicle is not drivable as a re-
                                                                                 sult of the loss; or
              (a) starts on the date the vehicle is
                   left at a repair facility if the stolen                 (b) the vehicle is left at a repair facility
                   vehicle is recovered, returned to                             if the vehicle is drivable; and
                   your possession in a drivable
                   condition, and has unrepaired                      (2) ends on the earliest of:
                   damage that resulted from the to-                       (a) the date the vehicle has been re-
                   tal theft; and                                                paired or replaced;
              (b) ends on the date the vehicle is re-                      (b) the date we offer to pay for the loss
                   paired.                                                       if the vehicle is repairable but you
         These transportation expenses must be re-                               choose to delay repairs; or
         ported to us before we will pay such in-
         curred expenses.                                                  (c) seven days after we offer to pay
                                                                                 for the loss if the vehicle is:
    c. The deductible does not apply to damage
         to the windshield of any covered vehicle.                               (i) a total loss as determined by
2. Collision Coverage                                                                  us; or
    We will pay for loss caused by collision to a                                (ii) stolen and not recovered.
    covered vehicle.                                                  The amount of any such daily rental
3. Emergency Road Service Coverage                                    charge incurred by an insured must be re-
    We will pay the fair cost incurred by an in-                      ported to us before we will pay such
    sured for:                                                        amount.
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    b.   Travel Expenses                                            the owner of the covered vehicle, if the cov-
         We will pay expenses for commercial                        ered vehicle is not drivable;
         transportation, lodging, and meals if your         2. store the covered vehicle, if it is not drivable
         car or a newly acquired car is not drivable           immediately after the loss, at:
         as a result of a loss which would be pay-             a. any one repair facility or commercial stor-
         able under Comprehensive Coverage or                       age facility, neither of which was chosen
         Collision Coverage. The loss must occur                    by an insured or the owner of the covered
         more than 50 miles from your home. We                      vehicle; and
         will only pay these expenses if they are in-
         curred by:                                            b. any one repair facility chosen by the owner
         (1) an insured during the period that:                     of the covered vehicle, and we determine
                                                                    such vehicle is a total loss.
               (a) starts after the loss occurs; and           If the owner of the covered vehicle consents,
               (b) ends on the earlier of:                     then we may move the covered vehicle at our
                    (i) the insureds arrival at his or        expense to reduce storage costs. If the owner
                         her destination or home if the        of the covered vehicle does not consent, then
                         vehicle is left behind for re-        we will pay only the storage costs that would
                         pairs; or                             have resulted if we had moved the damaged
                                                               covered vehicle; and
                    (ii) the repair of the vehicle if the   3. clean up debris from the covered vehicle at the
                         insured waits for repairs be-         location of the loss. The most we will pay to
                         fore continuing on to his or          clean up the debris is $250 for any one loss.
                         her destination or returning
                         home; and                          Limits and Loss Settlement  Comprehensive
         (2) you, or any person you choose, to              Coverage and Collision Coverage
               travel to retrieve the vehicle and drive     1. We have the right to choose to settle with you
               it to either the original destination or        or the owner of the covered vehicle in one of
               your home if the vehicle was left be-           the following ways:
               hind for repairs.                               a. Pay the cost to repair the covered vehicle
         These expenses must be reported to us be-                  minus any applicable deductible.
         fore we will pay such incurred expenses.                   (1) We have the right to choose one of the
     c. Rental Car  Repayment of Deductible                             following to determine the cost to re-
         Expense                                                         pair the covered vehicle:
         We will pay the comprehensive coverage                          (a) The cost agreed to by both the
         deductible or collision coverage deductible                          owner of the covered vehicle and
         an insured is required to pay the owner of                           us;
         a car rented from a car business.                               (b) A bid or repair estimate approved
Supplementary Payments  Comprehensive                                        by us; or
Coverage and Collision Coverage                                          (c) A repair estimate that is written
If the covered vehicle sustains loss for which we                             based upon or adjusted to:
make a payment under Comprehensive Coverage or                                (i) the prevailing competitive
Collision Coverage, then we will pay reasonable                                     price;
expenses incurred to:
1. tow the covered vehicle immediately after the loss:                        (ii) the lower of paintless dent
                                                                                    repair pricing established by
     a. for a reasonable distance from the location of                              an agreement we have with a
         the loss to any one repair facility chosen by                              third party or the paintless
         an insured or the owner of the covered vehi-                               dent repair price that is com-
         cle, if the covered vehicle is not drivable; or                            petitive in the market; or
     b. to any one repair facility or commercial stor-                        (iii) a combination of (i) and (ii)
         age facility, neither of which was chosen by                               above.
         an insured or the owner of the covered ve-                           The prevailing competitive price
         hicle. We will also pay reasonable expenses                          means prices charged by a ma-
         incurred to tow the covered vehicle for a                            jority of the repair market in the
         reasonable distance from this facility to any                        area where the covered vehicle is
         one repair facility chosen by an insured or                          to be repaired as determined by a
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              survey made by us. If asked, we                       (c) Each party will pay the cost of its
              will identify some facilities that                         own appraiser, attorneys, and ex-
              will perform the repairs at the                            pert witnesses, as well as any other
              prevailing competitive price. The                          expenses incurred by that party.
              estimate will include parts suffi-                         Both parties will share equally the
              cient to restore the covered vehi-                         cost of the third appraiser.
              cle to its pre-loss condition.                        (d) The appraisers shall only deter-
         You agree with us that the repair esti-                         mine the actual cash value of the
         mate may include new, used, recycled,                           covered vehicle. Appraisers shall
         and reconditioned parts. Any of these                           have no authority to decide any
         parts may be either original equipment                          other questions of fact, decide
         manufacturer parts or non-original                              any questions of law, or conduct
         equipment manufacturer parts.                                   appraisal on a class-wide or class-
         You also agree that replacement glass                           representative basis.
         need not have any insignia, logo,                          (e) A written appraisal that is both
         trademark, etching, or other marking                            agreed upon by and signed by any
         that was on the replaced glass.                                 two appraisers, and that also con-
     (2) The cost to repair the covered vehicle                          tains an explanation of how they
         does not include any reduction in the                           arrived at their appraisal, will be
         value of the covered vehicle after it                           binding on the owner of the cov-
         has been repaired, as compared to its                           ered vehicle and us.
         value before it was damaged.                               (f) We do not waive any of our rights
     (3) If the repair or replacement of a part                          by submitting to an appraisal.
         results in betterment of that part, then               (4) The damaged covered vehicle must be
         you or the owner of the covered vehi-                      given to us in exchange for our pay-
         cle must pay for the amount of the                         ment, unless we agree that the owner
         betterment.                                                may keep it. If the owner keeps the
     (4) If you and we agree, then windshield                       covered vehicle, then our payment
         glass will be repaired instead of replaced;                will be reduced by the value of the
                                                                    covered vehicle after the loss; or
b.   Pay the actual cash value of the covered
     vehicle minus any applicable deductible.             c. Return the stolen covered vehicle to its
                                                                owner and pay, as described in 1.a. above,
     (1) The owner of the covered vehicle and                   for any direct, sudden, and accidental
         we must agree upon the actual cash                     damage that resulted from the theft.
         value of the covered vehicle. If there is
         disagreement as to the actual cash value      2. The most we will pay for transportation ex-
         of the covered vehicle, then the disa-           penses under Comprehensive Coverage is
         greement will be resolved by mediation           $25 per day subject to an aggregate limit of
         or appraisal. Either the owner or we             $750 per loss.
         may request mediation or appraisal.           3. The most we will pay for loss to a non-owned
     (2) Mediation will follow the rules outlined         trailer or a non-owned camper is $2,500.
         in this policy, found under Mediation,        Limits  Car Rental and Travel Expenses Coverage
         in the section titled GENERAL                 1. Car Rental Expense
         TERMS.
     (3) Appraisal will follow the rules and pro-         The limit for Car Rental Expense is shown on
         cedures as listed below:                         the Declarations Page under Limit  Car
                                                          Rental Expense  Each Day, Each Loss.
         (a) The owner and we will each se-               a. The limit shown under Each Day is the
              lect a competent appraiser.                       most we will pay for the daily rental
         (b) The two appraisers will select a                   charge. If:
              third competent appraiser. If they                (1) a dollar amount is shown, then we will
              are unable to agree on a third ap-                    pay the daily rental charge up to that
              praiser within 30 days, then either                   dollar amount; or
              the owner or we may petition a                    (2) a percentage amount is shown, then we
              court that has jurisdiction to se-                    will pay that percentage of the daily
              lect the third appraiser.                             rental charge.

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    b.    Subject to the Each Day limit, the limit    6.  ANY COVERED VEHICLE TO THE EX-
          shown under Each Loss is the most we            TENT OUR PAYMENT WOULD BENEFIT
          will pay for Car Rental Expense incurred          ANY CARRIER OR OTHER BAILEE FOR
          as a result of any one loss.                      HIRE THAT IS LIABLE FOR LOSS TO
2. Travel Expenses                                          SUCH COVERED VEHICLE;
     The most we will pay for Travel Expenses in-       7. LOSS TO ANY COVERED VEHICLE DUE
     curred by all insureds as a result of any one          TO FUNGI. THIS APPLIES REGARDLESS
     loss is $500.                                          OF WHETHER OR NOT THE FUNGI RE-
                                                            SULT FROM A LOSS THAT IS PAYABLE
3. Rental Car  Repayment of Deductible Expense             UNDER ANY OF THE PHYSICAL DAM-
     The most we will pay for Rental Car  Repay-           AGE COVERAGES. WE WILL ALSO NOT
     ment of Deductible Expense incurred as a re-           PAY FOR ANY TESTING OR REMEDIATION
     sult of any one loss is $500.                          OF FUNGI, OR ANY ADDITIONAL COSTS
                                                            REQUIRED TO REPAIR ANY COVERED
Nonduplication                                              VEHICLE THAT ARE DUE TO THE EX-
We will not pay for any loss or expense under the           ISTENCE OF FUNGI;
Physical Damage Coverages for which the insured         8. LOSS TO ANY COVERED VEHICLE THAT
or owner of the covered vehicle has already received        RESULTS FROM:
payment from, or on behalf of, a party who is legally
liable for the loss or expense.                             a. NUCLEAR REACTION;
Exclusions                                                  b. RADIATION OR RADIOACTIVE CON-
                                                               TAMINATION FROM ANY SOURCE; OR
THERE IS NO COVERAGE FOR:
                                                            c. THE ACCIDENTAL OR INTENTIONAL
1. ANY COVERED VEHICLE THAT IS:                                DETONATION OF, OR RELEASE OF
     a. INTENTIONALLY DAMAGED; OR                              RADIATION FROM, ANY NUCLEAR
                                                               OR RADIOACTIVE DEVICE;
     b. STOLEN
                                                        9. LOSS TO ANY COVERED VEHICLE THAT
     BY OR AT THE DIRECTION OF AN IN-                       RESULTS FROM THE TAKING OF OR SEI-
     SURED;                                                 ZURE OF THAT COVERED VEHICLE BY
2. ANY COVERED VEHICLE WHILE IT IS                          ANY GOVERNMENTAL AUTHORITY;
     RENTED TO OR LEASED TO OTHERS BY                   10. LOSS TO ANY COVERED VEHICLE THAT
     AN INSURED;                                            RESULTS FROM WAR OF ANY KIND;
3. ANY COVERED VEHICLE WHILE IT IS                      11. YOUR CAR WHILE SUBJECT TO ANY:
     USED TO CARRY PERSONS FOR A
     CHARGE. This exclusion does not apply to the           a. LIEN AGREEMENT;
     use of a private passenger car on a share-the-         b. RENTAL AGREEMENT;
     expense basis;
                                                            c. LEASE AGREEMENT; OR
4. ANY COVERED VEHICLE DUE TO:
                                                            d. SALES AGREEMENT
     a. THEFT;
                                                            NOT SHOWN ON THE DECLARATIONS
     b. CONVERSION;                                         PAGE;
     c. EMBEZZLEMENT; OR                                12. ANY NON-OWNED CAR WHILE IT IS:
     d. SECRETION                                           a. BEING MAINTAINED OR USED BY
     BY AN INSURED, A CONSIGNEE, AN                            ANY PERSON WHILE THAT PERSON
     AGENT OF A CONSIGNEE, OR A PERSON                         IS EMPLOYED IN OR ENGAGED IN
     WHO OBTAINS POSSESSION OF THE                             ANY WAY IN A CAR BUSINESS; OR
     COVERED VEHICLE WITH THE PERMIS-                       b. USED IN ANY BUSINESS OR OCCU-
     SION OF A CONSIGNEE OR AGENT OF A                         PATION OTHER THAN A CAR BUSI-
     CONSIGNEE;                                                NESS. This exclusion (12.b.) does not
5. LOSS TO YOUR CAR OR A NEWLY AC-                             apply to a private passenger car;
     QUIRED CAR IF AN INSURED VOLUN-                    13. ANY PART OR EQUIPMENT OF A COVERED
     TARILY RELINQUISHES POSSESSION OF                      VEHICLE IF THAT PART OR EQUIPMENT:
     THAT CAR TO A PERSON OR ORGANIZA-
     TION UNDER AN ACTUAL OR PRE-                           a. FAILS OR IS DEFECTIVE; OR
     SUMED SALES AGREEMENT;                                 b. IS DAMAGED AS A DIRECT RESULT OF:

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         (1) WEAR AND TEAR;                                 c.   NOT SHOWN ON THE DECLARA-
         (2) FREEZING; OR                                        TIONS PAGE; OR
         (3) MECHANICAL, ELECTRICAL, OR                 19. ANY COVERED VEHICLE WHILE IT IS:
              ELECTRONIC BREAKDOWN OR                       a. BEING PREPARED FOR, USED IN
              MALFUNCTION                                        PRACTICE FOR, OR OPERATED IN
         OF THAT PART OR EQUIPMENT.                              ANY RACING CONTEST, SPEED
                                                                 CONTEST, HILL-CLIMBING CON-
    This exclusion does not apply if the loss is the             TEST, JUMPING CONTEST, OR ANY
    result of theft of the covered vehicle;                      SIMILAR CONTEST; OR
14. ANY PART OR EQUIPMENT:                                  b. ON A TRACK DESIGNED PRIMARILY
                                                                 FOR RACING OR HIGH-SPEED DRIV-
    a. THAT IS NOT LEGAL FOR USE IN OR                           ING. This exclusion (19.b.) does not apply if
         ON THE COVERED VEHICLE IN THE                           the vehicle is being used in connection with
         JURISDICTION WHERE THE COV-                             an activity other than racing, high-speed
         ERED VEHICLE IS REGISTERED; OR                          driving, or any type of competitive driving.
    b. THE USE OF WHICH IS NOT LEGAL                    If Other Physical Damage Coverage or Similar
         IN THE JURISDICTION WHERE THE                  Coverage Applies
         COVERED VEHICLE IS REGISTERED                  1. If the same loss or expense is payable under
         BECAUSE OF HOW OR WHERE THAT                       more than one of the physical damage coverages
         PART OR EQUIPMENT IS INSTALLED                     provided by this policy, then only the one cover-
         IN OR ON THE COVERED VEHICLE.                      age that pays the most for that loss or expense
    However, if there is a legal version of the part        applies.
    or equipment that is necessary for the safe op-     2. If any of the physical damage coverages pro-
    eration of the covered vehicle, then we will pay        vided by this policy and one or more other pol-
    the cost that we would otherwise have paid to           icies issued to an insured by the State Farm
    repair the vehicle with the legal version of the        Companies apply to the same loss or expense,
    part or equipment. We will not pay any cost             then only one policy applies. We will select a
    necessary to modify the vehicle for installation        policy that pays the most for the loss or ex-
    of the legal version of the part or equipment;          pense.
15. TIRES. This exclusion does not apply if:            3. The physical damage coverages provided by
    a. loss is caused by missiles, falling objects,         this policy apply as primary coverage for a loss
         windstorm, hail, fire, explosion, earth-           to your car.
         quake, water, flood, total or partial theft,       If similar coverage provided by one or more
         malicious mischief, vandalism, riot, civil         sources other than the State Farm Companies
         commotion, or hitting or being hit by a            also applies as primary coverage for the same loss
         bird or an animal; or                              or expense, then the State Farm Companies will
    b. loss caused by collision to another part of          pay the proportion of the loss or expense payable
         the covered vehicle causes loss to tires;          as primary that the maximum amount that may be
16. REMOVABLE PRODUCTS USED FOR                             paid by the State Farm Companies bears to the
    STORAGE OF AUDIO, VIDEO, OR OTHER                       sum of such amount and the limits of all other
                                                            similar coverage that applies as primary coverage.
    DATA, INCLUDING BUT NOT LIMITED TO
    TAPES, DISCS, AND MEMORY CARDS,                     4. Except as provided in 3. above, the physical
    NOR IS THERE COVERAGE FOR THE RE-                       damage coverages provided by this policy apply
    CONSTRUCTION OF DATA CONTAINED                          as excess coverage.
    THEREIN;                                                If similar coverage provided by one or more
17. ANY EQUIPMENT USED TO DETECT OR                         sources other than the State Farm Companies
    INTERFERE WITH SPEED MEASURING                          also applies as excess coverage for the same
    DEVICES;                                                loss or expense, then the State Farm Compa-
18. A CAMPER, INCLUDING ITS PARTS AND                       nies will pay the proportion of the loss or ex-
    ITS EQUIPMENT, THAT IS:                                 pense payable as excess that the maximum
                                                            amount that may be paid by the State Farm
    a. DESIGNED TO BE MOUNTED ON A                          Companies bears to the sum of such amount and
         PICKUP TRUCK;                                      the limits of all other similar coverage that ap-
    b. OWNED BY AN INSURED; AND                             plies as excess coverage.

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Financed Vehicle                                               a. We may, at our option, make payment to
1. If a creditor is shown on the Declarations Page,               one or more of the following for loss to a
    then any Comprehensive Coverage or Collision                  covered vehicle owned by you:
    Coverage provided by this policy applies to                   (1) You;
    that creditors interest in your car. Coverage                (2) The repairer; or
    for the creditors interest is only provided for a
    loss that is payable to you.                                  (3) A creditor shown on the Declarations
    However, if this policy is cancelled or nonre-                      Page, to the extent of its interest.
    newed, then we will provide coverage for the               b. We may, at our option, make payment to one
    creditors interest until we notify the creditor of           or more of the following for loss to a covered
    the termination of such coverage. This coverage               vehicle not owned by you:
    for the creditors interest is only provided for a
    loss that would have been payable to you if this              (1) You;
    policy had not been cancelled or nonrenewed.                  (2) The owner of such vehicle;
    The date such termination is effective will be at
    least 10 days after the date we mail or electroni-            (3) The repairer; or
    cally transmit a notice of the termination to the             (4) A creditor, to the extent of its interest.
    creditor.                                             2.   Emergency Road Service Coverage and Car
2. If we pay such creditor, then we are entitled to            Rental and Travel Expenses Coverage
    the creditors right of recovery against you to            We may, at our option, make payment to one or
    the extent of our payment. Our right of recov-             more of the following:
    ery does not impair the creditors right to re-
    cover the full amount of its claim.                        a. You;
Our Payment Options                                            b. The insured who incurred the expense; or
1. Comprehensive Coverage and Collision                        c. Any party that provided the service for
    Coverage                                                      which payment is owed.




              DEATH, DISMEMBERMENT AND LOSS OF SIGHT COVERAGE
This policy provides Death, Dismemberment and             The insured must be occupying or be struck as a
Loss of Sight Coverage if S is shown under              pedestrian by a land motor vehicle or any type of
SYMBOLS on the Declarations Page.                       trailer at the time of the accident. The death, dis-
Additional Definition                                     memberment, or permanent loss of sight must occur
Insured means a person whose name is shown under          within 90 days immediately following the date of the
Death, Dismemberment and Loss of Sight Coverage          accident.
 Persons Insured on the Declarations Page.              Benefit
Insuring Agreement                                        The applicable benefit shown in the schedule is the
We will pay the highest applicable benefit shown in       most we will pay for any one insured in any one
the following Death, Dismemberment and Loss of            accident. Any benefit paid or payable for dismem-
Sight Benefits Schedules if an insured:                   berment or permanent loss of sight reduces the
1. dies; or                                               death benefit.
2. suffers dismemberment or permanent loss of             The benefits shown in the schedules are doubled for
     sight, as described in the schedule                  an insured who at the time of the accident was oc-
as the direct result of an accident that involves the     cupying a private passenger car and using a seat
use of a land motor vehicle or any type of trailer as a   belt in the manner recommended by the vehicles
vehicle and not due to any other cause.                   manufacturer.

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            Death, Dismemberment and                           (2) COURSE AND SCOPE OF HIS OR
          Loss of Sight Benefits Schedules                         HER EMPLOYMENT IN OTHER
If the amount shown on the Declarations Page for the               THAN A CAR BUSINESS.
insured is $5,000, then we will pay the applicable             This exclusion (2.b.) does not apply if the
benefit shown below for death or for the described             vehicle is a private passenger car;
dismemberment or permanent loss of sight:                   c. A MILITARY VEHICLE; OR
Death                                        $5,000
                                                            d. A VEHICLE WHILE IT IS:
Loss of both hands; both feet; all sight of  $5,000
both eyes; one hand and one foot; or one                       (1) BEING PREPARED FOR, USED IN
hand or one foot and all sight of one eye                          PRACTICE FOR, OR OPERATED IN
Loss of one hand or one foot; or all         $2,500                ANY RACING CONTEST, SPEED
sight of one eye                                                   CONTEST, HILL-CLIMBING CON-
Loss of the thumb and a finger on            $1,500                TEST, JUMPING CONTEST, OR ANY
one hand; or any three fingers                                     SIMILAR CONTEST; OR
Loss of any two fingers                      $1,000            (2) ON A TRACK DESIGNED PRIMARI-
The hand must be cut off through or above the wrist.               LY FOR RACING OR HIGH-SPEED
The foot must be cut off through or above the ankle.               DRIVING. This exclusion (2.d.(2)) does
The whole thumb or finger must be cut off.                         not apply if the vehicle is being used in
If the amount shown on the Declarations Page for the               connection with an activity other than
insured is $10,000, then we will pay the applicable                racing, high-speed driving, or any type of
benefit shown below for death or for the described                 competitive driving;
dismemberment or permanent loss of sight:              3.   WHILE OCCUPYING, LOADING, UN-
Death                                       $10,000         LOADING, OR WHO IS STRUCK AS A PE-
Loss of both hands; both feet; all sight of $10,000         DESTRIAN BY:
both eyes; one hand and one foot; or one                    a. A MOTOR VEHICLE THAT RUNS ON
hand or one foot and all sight of one eye                      RAILS OR CRAWLER-TREADS;
Loss of one hand or one foot; or all         $5,000         b. A MOTOR VEHICLE THAT IS DE-
sight of one eye                                               SIGNED FOR USE PRIMARILY OFF
Loss of the thumb and a finger on            $3,000            PUBLIC ROADS WHILE OFF PUBLIC
one hand; or any three fingers                                 ROADS; OR
Loss of any two fingers                      $2,000
                                                            c. A MOTOR VEHICLE OR ANY TYPE OF
The hand must be cut off through or above the wrist.           TRAILER, EITHER OF WHICH IS LO-
The foot must be cut off through or above the ankle.           CATED FOR USE AS A DWELLING OR
The whole thumb or finger must be cut off.                     OTHER PREMISES; OR
Exclusions                                             4.   FOR DEATH, DISMEMBERMENT, AND
                                                            LOSS OF SIGHT THAT RESULTS FROM:
DEATH, DISMEMBERMENT AND LOSS OF
SIGHT COVERAGE DOES NOT APPLY TO AN                         a. WAR OF ANY KIND;
INSURED:                                                    b. NUCLEAR REACTION, RADIATION
                                                               OR RADIOACTIVE CONTAMINA-
1. WHILE IN THE COURSE AND SCOPE OF                            TION FROM ANY SOURCE, OR THE
    HIS OR HER EMPLOYMENT IN A CAR                             ACCIDENTAL OR INTENTIONAL
    BUSINESS;                                                  DETONATION OF, OR RELEASE OF
2. WHILE OCCUPYING, LOADING, OR UN-                            RADIATION FROM, ANY NUCLEAR
                                                               OR RADIOACTIVE DEVICE;
    LOADING:
                                                            c. EXPOSURE TO FUNGI;
    a. AN EMERGENCY VEHICLE IN THE
        COURSE AND SCOPE OF HIS OR HER                      d. SUICIDE OR ATTEMPTED SUICIDE
        EMPLOYMENT;                                            REGARDLESS OF WHETHER THE IN-
                                                               SURED WAS SANE OR INSANE; OR
    b. A VEHICLE, OTHER THAN AN EMER-
        GENCY VEHICLE, WHILE USED IN THE:                   e. DISEASE except pus-forming infection
                                                               due to bodily injury sustained in the ac-
        (1) INSUREDS BUSINESS; OR                             cident.

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Our Payment Options                                        3.   A parent or guardian of the insured, if the
We may, at our option, make payment to one or                   insured is a minor or an incompetent person;
more of the following:                                          or
1. The insured;                                            4.   A person or organization authorized by law to
2. The insureds surviving spouse;                              receive such payment.




                                            INSUREDS DUTIES
1.   Insureds Duty at the Time of an Accident or                  unless authorized by the terms of this policy.
     Loss                                                       c. Any person or organization making claim
     The insured must make a reasonable effort to                  under this policy must, when we require,
     identify:                                                     give us proof of loss on forms we furnish.
     a. the owners, operators, and passengers of the       5.   Questioning Under Oath
          vehicles involved in the accident or loss;            Under:
     b. the person or persons involved in the ac-               a. No-Fault Coverage, each insured making
          cident or loss; and                                      claim or seeking payment, must, at our op-
     c. the potential witnesses to the accident or loss.           tion:
2.   Notice to Us of an Accident or Loss                           (1) submit to an examination under oath;
     The insured must give us or one of our agents                 (2) provide a statement under oath; or
     notice of the accident or loss as soon as reason-             (3) do both (1) and (2) above,
     ably possible. The notice must give us:
     a. your name;                                                 as often as we reasonably require. Such
                                                                   insured must answer questions under oath,
     b. the names and addresses of all persons in-                 asked by anyone we name, and sign copies
          volved in the accident or loss;                          of the answers. We may require each in-
     c. the hour, date, place, and facts of the acci-              sured answering questions under oath to
          dent or loss; and                                        answer the questions with only that in-
                                                                   sureds legal representative, our represent-
     d. the names and addresses of witnesses to                    atives, any person or persons designated
          the accident or loss.                                    by us to record the questions and answers,
3.   Notice to Us of a Claim or Lawsuit                            and no other person present.
     a. If a claim is made against an insured, then                The scope of the questioning during the
          that insured must immediately send us                    examination under oath is limited to rele-
          every demand, notice, and claim received.                vant information or information that could
     b. If a lawsuit is filed against an insured, then             reasonably be expected to lead to relevant
          that insured must immediately send us every              information. Compliance with Question-
          summons and legal process received.                      ing Under Oath is a condition precedent
4.   Insureds Duty to Cooperate With Us                           to receiving benefits.
     a. The insured must cooperate with us and,                 b. all other coverages, each insured making
          when asked, assist us in:                                claim or seeking payment, must, at our op-
                                                                   tion:
          (1) making settlements;                                  (1) submit to an examination under oath;
          (2) securing and giving evidence; and                    (2) provide a statement under oath; or
          (3) attending, and getting witnesses to at-              (3) do both (1) and (2) above,
               tend, depositions, hearings, and trials.
     b. The insured must not, except at his or her                 as often as we reasonably require. Such
          own cost, voluntarily:                                   insured must answer questions under oath,
                                                                   asked by anyone we name, and sign copies
          (1) make any payment to others; or                       of the answers. We may require each in-
          (2) assume any obligation to others                      sured answering questions under oath to

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         answer the questions with only that in-                       report will be sent to the person upon
         sureds legal representative, our represent-                  written request.
         atives, any person or persons designated                      (a) Under No-Fault Coverage, if an
         by us to record the questions and answers,
         and no other person present.                                       insured unreasonably refuses to
                                                                            submit to an examination, then
6.   Other Duties Under the Physical Damage                                 we are no longer liable for subse-
     Coverages                                                              quent benefits. An insureds re-
     When there is a loss, you or the owner of the                          fusal to submit to, complete, or
     covered vehicle must:                                                  failure to appear at two examina-
     a. protect the covered vehicle from additional                         tions raises a rebuttable presump-
         damage. We will pay any reasonable ex-                             tion that the insureds refusal or
         pense incurred to do so that is reported to us;                    failure was unreasonable;
     b. make a prompt report to the police when                        (b) Under Medical Payments Cover-
         the loss is the result of theft or vandalism;                      age, Uninsured Motor Vehicle
     c. allow us to:                                                        Coverage, and Death, Dismem-
         (1) inspect any damaged property before                            berment and Loss of Sight Cover-
              its repair or disposal;                                       age, if an insured unreasonably
         (2) test any part or equipment before that                         refuses to submit to an examina-
              part or equipment is removed or re-                           tion, then we are not liable for
              paired; and                                                   coverage benefits. An insureds
                                                                            refusal to submit to, complete, or
         (3) move the covered vehicle at our ex-                            failure to appear at two examina-
              pense in order to conduct such inspec-
              tion or testing;                                              tions will be considered unrea-
                                                                            sonable;
     d. provide us all:
                                                                   (3) provide written authorization for us to
         (1) records;                                                  obtain:
         (2) receipts; and                                             (a) medical bills;
         (3) invoices                                                  (b) medical records;
         that we request and allow us to make copies;                  (c) wage, salary, and employment in-
         and                                                                formation; and
     e. not abandon the covered vehicle to us.                         (d) any other information we deem nec-
7.   Other Duties Under No-Fault Coverage,                                  essary to substantiate the claim.
     Medical Payments Coverage, Uninsured                              If an injured insured is a minor, una-
     Motor Vehicle Coverage, and Death, Dis-                           ble to act, or dead, then his or her legal
     memberment and Loss of Sight Coverage                             representative must provide us with
     An insured making claim under:                                    the written authorization.
     a. No-Fault Coverage, Medical Payments                            If the holder of the information re-
         Coverage, Uninsured Motor Vehicle Cov-                        fuses to provide it to us despite the au-
         erage, or Death, Dismemberment and Loss                       thorization, then at our request the
         of Sight Coverage must:                                       person making claim or his or her le-
         (1) notify us of the claim and give us all                    gal representative must obtain the in-
              the details about the death, injury,                     formation and promptly provide it to
              treatment, and other information that                    us; and
              we may need as soon as reasonably                    (4) allow us to inspect the vehicle that the
              possible after the injured insured is                    insured occupied in the accident;
              first examined or treated for the inju-
              ry. If the insured is unable to give us         b.   No-Fault Coverage or Medical Payments
              notice, then any other person may                    Coverage must, at our request, submit
              give us the required notice;                         documentation from the appropriate health-
         (2) submit to be examined as often as we                  care provider described in 1.A. or 1.B. un-
              may reasonably require by physicians                 der the Insuring Agreement of this poli-
              chosen and paid by us. A copy of the                 cys No-Fault Coverage, or described in

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          2.A. or 2.B. under the Insuring Agreement                  insured files a lawsuit against the party li-
          of this policys Medical Payments Coverage,                able for the accident; and
          confirming whether that healthcare provider           d.   Uninsured Motor Vehicle Coverage must
          determined the injured insured had, or did                 report an accident, involving a motor vehi-
          not have, an emergency medical condition;                  cle whose owner or driver remains un-
     c.   No-Fault Coverage and Uninsured Motor                      known, to the police within 24 hours or as
          Vehicle Coverage must send us immedi-                      soon as reasonably practicable, and to us
          ately a copy of all lawsuit papers if the                  within 30 days.




                                             GENERAL TERMS
1.   When Coverage Applies                                      c.   Death, Dismemberment and Loss of Sight
     The coverages provided by this policy are                       Coverage applies anywhere in the world.
     shown on the Declarations Page and apply to           3.   Limited Coverage in Mexico
     accidents and losses that occur during the poli-           This policy does not provide Mexican auto in-
     cy period. The policy period is shown on the               surance and does not comply with Mexican au-
     Declarations Page and is for successive periods            to insurance requirements. If you or any other
     of six months each for which the renewal pre-              insured plan to drive in Mexico, then auto in-
     mium is paid. The policy period begins and                 surance providing coverage in Mexico should
     ends at 12:01 AM Standard Time at the address              be purchased from a Mexican insurance com-
     shown on the Declarations Page.                            pany.
                                                                Subject to the above paragraph, the following
2.   Where Coverage Applies                                     coverages apply in Mexico, but only for acci-
     The coverages provided by this policy are                  dents and losses that occur in Mexico within 50
     shown on the Declarations Page.                            miles of the United States of America border
     a. Liability Coverage, Property Damage                     and only for insureds as defined under each of
                                                                the following coverages:
          Liability Coverage, Medical Payments
          Coverage, Uninsured Motor Vehicle Cov-                a. Liability Coverage
          erage, and Physical Damage Coverages                       For claims brought against an insured in
          apply to accidents and losses that occur:                  Mexico, the Supplementary Payments
                                                                     provision of this policys Liability Cover-
          (1) in the United States of America and its                age is changed to read:
              territories and possessions;
                                                                     We may, in addition to the damages de-
          (2) in Canada; and                                         scribed in item 1 of the Insuring Agree-
          (3) while a vehicle for which coverage is                  ment of this policys Liability Coverage,
              provided by this policy is being shipped               pay or reimburse, at our option, reasonable
              between the ports of the United States of              attorney fees for an attorney licensed in
                                                                     Mexico to appear for and provide advice to
              America, its territories, its possessions,             insureds as defined under this policys Li-
              and Canada.                                            ability Coverage. The amount of such at-
     b. No-Fault Coverage applies to accidental                      torney fees incurred by an insured must be
          bodily injury sustained:                                   reported to us before we will make pay-
                                                                     ment.
          (1) by an insured in Florida; and
                                                                b. Property Damage Liability Coverage
          (2) by you and relatives outside Florida;
              but within:                                            For claims brought against an insured in
                                                                     Mexico, the Supplementary Payments
              (a) the United States of America, its                  provision of this policys Property Damage
                   territories or possessions; or                    Liability Coverage is changed to read:
              (b) Canada,                                            We may, in addition to the damages de-
              while occupying your car, a newly                      scribed in items 1. and 2. of the Insuring
              acquired car, or a temporary substi-                   Agreement of this policys Property Dam-
              tute car.                                              age Liability Coverage, pay or reimburse,
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     at our option, reasonable attorney fees for      4.   Persons Acting On Our Behalf
     an attorney licensed in Mexico to appear              A company employee adjuster, independent ad-
     for and provide advice to insureds as de-             juster, attorney, investigator, or other persons
     fined under this policys Property Damage             acting on our behalf that needs access to an in-
     Liability Coverage. The amount of such at-            sured or claimant or to the insured property
     torney fees incurred by an insured must be            that is the subject of a claim must provide at
     reported to us before we will make pay-               least 48 hours notice to the insured or claim-
     ment.                                                 ant, public adjuster, or legal representative be-
c. No-Fault Coverage                                       fore scheduling a meeting with the claimant or
                                                           an onsite inspection of the insured property.
     The definition of insured is changed read:            The insured or claimant may deny access to
          Insured means named insured and                  the property if the notice has not been provid-
          relatives while occupying:                       ed. The insured or claimant may waive the 48-
                                                           hour notice.
          (1) your car;
                                                           A public adjuster must ensure prompt notice of
          (2) a newly acquired car;                        property loss claims submitted to us by or
          (3) a temporary substitute car; or               through a public adjuster or on which a public
                                                           adjuster represents the insured at the time the
          (4) a trailer while attached to a car            claim or notice of loss is submitted to us. The
               described in (1), (2), or (3) above.        public adjuster must ensure that notice is given
d. Medical Payments Coverage                               to us, the public adjusters contract is provided
e. Physical Damage Coverages                               to us, the property is available for inspection of
                                                           the loss or damage by us, and we are given an
     Any amount payable for the repair or re-              opportunity to interview the insured directly
     placement of the covered vehicle under the            about the loss and claim. We must be allowed
     Limits and Loss Settlement  Compre-                  to obtain necessary information to investigate
     hensive Coverage and Collision Cover-                 and respond to the claim.
     age provision of this policy will be limited          We may not exclude the public adjuster from
     to the cost to repair or replace the covered          its in-person meetings with the insured. We
     vehicle in the United States of America.              shall meet or communicate with the public ad-
                                                           juster in an effort to reach agreement as to the
WE HAVE NO DUTY TO PROVIDE A DE-                           scope of the covered loss under the insurance
FENSE FOR YOU OR ANY OTHER IN-                             policy. This section does not impair the terms
SURED IN ANY CRIMINAL, CIVIL, OR                           and conditions of the insurance policy in effect
OTHER ACTION.                                              at the time the claim is filed.
WE HAVE NO DUTY TO PAY ANY CLAIM                           A public adjuster may not restrict or prevent
OR COST THAT WOULD NOT BE PAYABLE                          us, company employee adjuster, independent
UNDER THIS POLICY IF THE ACCIDENT                          adjuster, attorney, investigator, or other person
                                                           acting on our behalf from having reasonable
OR LOSS HAD OCCURRED IN THE STATE                          access at reasonable times to an insured or
OF FLORIDA IN THE UNITED STATES OF                         claimant or to the insured property that is the
AMERICA.                                                   subject of a claim.
All other policy provisions not in conflict with           A public adjuster may not act or fail to reason-
the provisions in this Limited Coverage in                 ably act in any manner that obstructs or pre-
Mexico provision of this policy apply.                     vents us or our adjuster from timely
                                                           conducting an inspection of any part of the in-
If Other Coverage Applies                                  sured property for which there is a claim for
Any coverage provided by this Limited Cov-                 loss or damage. The public adjuster represent-
erage in Mexico provision is excess over any               ing the insured may be present for our inspec-
other applicable insurance.                                tion, but if the unavailability of the public
                                                           adjuster otherwise delays our timely inspection
Legal Action Against Us                                    of the property, the public adjuster or the in-
                                                           sured must allow us to have access to the
Any legal action against us arising out of an ac-          property without the participation or presence
cident or loss occurring in Mexico must be                 of the public adjuster or insured in order to fa-
brought in a court that has jurisdiction in the            cilitate our prompt inspection of the loss or
state of Florida in the United States of America.          damage.

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5.   Newly Owned or Newly Leased Car                                     dies, then the definition of insured un-
     If you want to insure a car newly owned by you                      der each of the coverages provided by
     with the State Farm Companies after that car                        this policy is changed to include:
     ceases to be a newly acquired car, then you must                    (a) any person with lawful custody of
     either:                                                                  your car, a newly acquired car, or
     a. request we replace the car currently shown                            a temporary substitute car until a
          on the Declarations Page of this policy with                        legal representative is qualified;
          the car newly owned by you and pay us any                           and then
          added amount due. If you make such request                     (b) the legal representative of the de-
          while this policy is in force and:                                  ceased named insured.
          (1) before the car newly owned by you                          This only applies while such person is
               ceases to be a newly acquired car, then                   maintaining or using your car, a new-
               that car newly owned by you will be in-                   ly acquired car, or a temporary sub-
               sured by this policy as your car begin-                   stitute car.
               ning on the date the car newly owned by                   Policy notice requirements are met by
               you is delivered to you. The added                        mailing the notice to the most recent
               amount due will be calculated based on                    policy address that we have on record
               that date; or                                             for the deceased named insured.
          (2) after the car newly owned by you ceases           c. Joint and Individual Interests
               to be a newly acquired car, then that car
               newly owned by you will be insured by               If you consists of more than one person or
               this policy as your car beginning on the            entity, then each acts for all to change or
               date and time you make the request. The             cancel the policy.
               added amount due will be calculated              d. Change of Policy Address
               based on that date; or
                                                                   We may change the named insureds policy
     b. apply to the State Farm Companies for a                    address as shown on the Declarations Page
          separate policy to insure the car newly                  and in our records to the most recent ad-
          owned by you. Such policy will be issued                 dress provided to us by:
          only if both the applicant and the vehicle
          are eligible for coverage at the time of the             (1) you; or
          application.                                             (2) the United States Postal Service.
6.   Changes to This Policy                                7.   Premium
     a. Changes in Policy Provisions                            a. Unless as otherwise provided by an alter-
          We may only change the provisions of this                native payment plan in effect with the
          policy by:                                               State Farm Companies with respect to the
                                                                   premium for this policy, the premium is
          (1) issuing a revised policy booklet, a re-              due and payable in full on or before the
               vised Declarations Page, or an en-                  first day of the policy period shown on the
               dorsement; or                                       most recently issued Declarations Page or
          (2) revising this policy to give broader                 Renewal Notice.
               coverage without an additional premi-            b. The renewal premium for this policy will be
               um charge. If any coverage provided                 based upon the rates in effect, the coverages
               by this policy is changed to give                   carried, the applicable limits, deductibles,
               broader coverage, then we will give                 and other elements that affect the premium
               you the broader coverage as of the                  that apply at the time of renewal.
               date we make the change effective in
               the state of Florida without issuing a           c. The premium for this policy may vary
               revised policy booklet, a revised Dec-              based upon:
               larations Page, or an endorsement.                  (1) the purchase of other products or serv-
     b. Change of Interest                                               ices from the State Farm Companies;
          (1) No change of interest in this policy is              (2) the purchase of products or services
               effective unless we consent in writing.                   from an organization that has entered
                                                                         into an agreement or contract with the
          (2) Except under Death, Dismemberment                          State Farm Companies. The State
               and Loss of Sight Coverage, if a named                    Farm Companies do not warrant the
               insured shown on the Declarations Page                    merchantability, fitness, or quality of
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              any product or service offered or pro-             (2) However, if the policy provides Lia-
              vided by that organization; or                         bility Coverage or Property Damage
         (3) an agreement, concerning the insur-                     Liability Coverage and No-Fault Cov-
              ance provided by this policy, that the                 erage, you may not cancel your policy
              State Farm Companies has with an                       during the first two months immedi-
              organization of which you are a mem-                   ately following the policy effective
              ber, employee, subscriber, licensee, or                date unless:
              franchisee.                                            (a) your car has been totally de-
    d. The premium for this policy is based upon                          stroyed;
         information we have received from you or                    (b) you have transferred ownership
         other sources. You must inform us if any                         of your car;
         information regarding the following is in-                  (c) you have purchased another poli-
         correct or incomplete, or changes during                         cy covering your car; or
         the policy period, and you must answer
         questions we ask regarding the following:                   (d) you are a member of the United
         (1) Your car, or its use, including annual                       States Armed Forces and have
              mileage;                                                    been called to or are on active
                                                                          duty outside the United States in
         (2) The persons who regularly drive your                         an emergency situation.
              car, including newly licensed family          b.   How and When We May Cancel
              members;
         (3) Your marital status; or                             (1) We may cancel this policy by mailing
                                                                     or delivering a written notice to the
         (4) The location where your car is pri-                     most recent policy address that we
              marily garaged.                                        have on record for the first named in-
         If the above information or any other in-                   sured who is shown on the Declara-
         formation used to determine the premium                     tions Page. The notice will provide
         is incorrect, incomplete, changes during                    the date cancellation is effective.
         the policy period, or is not provided to us             (2) Except as provided under Cancella-
         when we ask, then we may decrease or in-                    tion Due to Incorrect Premium, the
         crease the premium during the policy peri-                  date cancellation is effective will be at
         od. If we decrease the premium during the                   least:
         policy period, then we will provide a re-                   (a) 10 days after the date we mail or
         fund or a credit in the amount of the de-                        deliver the cancellation notice, if
         crease. If we increase the premium during                        the cancellation is because the
         the policy period, then you must pay the                         premium was not paid when due;
         amount of the increase.                                          or
8. Renewal                                                           (b) 45 days after we mail or deliver
    We agree to renew this policy for the next policy                     the cancellation notice, if the can-
    period upon payment of the renewal premium                            cellation is because of any other
    when due, unless we mail or deliver a nonre-                          reason.
    newal notice or a cancellation notice as set forth           (3) If we cancel this policy for nonpay-
    in 9. and 10. below.
                                                                     ment of premium during the first 60
9. Nonrenewal                                                        days immediately following the effec-
    If we decide not to renew this policy, then, at                  tive date of this policy, we will do so
    least 45 days before the end of the current                      only if a check used to pay the premi-
    policy period, we will mail or deliver a nonre-                  um is dishonored for any reason or
    newal notice to the most recent policy address                   any other type of premium payment
    that we have on record for the first named in-                   was subsequently determined to be re-
    sured who is shown on the Declarations Page.                     jected or invalid.
10. Cancellation                                                 (4) After this policy has been in force for
    a. How You May Cancel                                            more than 59 days, we will not cancel
         (1) You may cancel this policy by provid-                   this policy before the end of the cur-
              ing to us advance notice of the date                   rent policy period unless it is based on
              cancellation is effective. We may con-                 one or more of the following reasons:
              firm the cancellation in writing.                      (a) Nonpayment of premium;
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              (b) You, any resident relative, or any      12. Bankruptcy or Insolvency of the Insured
                   other person who usually drives            Bankruptcy or insolvency of the insured or his
                   your car has had his or her driv-          or her estate will not relieve us of our obliga-
                   ers license or motor vehicle reg-         tions under this policy.
                   istration under suspension or          13. Concealment or Fraud
                   revocation during the policy peri-
                   od or the 180 days immediately             a. Coverages Other Than No-Fault and
                   preceding its effective date, or if             Medical Payments Coverage
                   the policy is a renewal, during its             There is no coverage under this policy for
                   policy period; or                               any person who, or organization making
                                                                   claim or seeking payment that, has made
              (c) Material misrepresentation or                    false statements with the intent to conceal
                   fraud.                                          or misrepresent any material fact or cir-
    c. Cancellation Due to Incorrect Premium                       cumstance in connection with any claim
                                                                   under this policy.
         (1) If we determine that we have charged
              you an incorrect premium for cover-             b. No-Fault Coverage and Medical Pay-
              ages requested in your insurance ap-                 ments Coverage
              plication, we will immediately notify                Benefits shall not be due or payable to or
              you of any additional premium due.                   on behalf of an insured person if that per-
              You may:                                             son has committed, by material act or
              (a) maintain your policy in force by                 omission, any insurance fraud relating to
                   paying the additional amount due                No-Fault Coverage or Medical Payments
                   by the date stated in the notice; or            Coverage under this policy, if the fraud is
                                                                   admitted to in a sworn statement by the in-
              (b) cancel your policy by the date                   sured or if it is established in a court of
                   stated in the notice and receive a              competent jurisdiction. Any insurance
                   refund of any unearned premium.                 fraud shall void all coverage arising from
         (2) If you fail to respond by the date stat-              the claim related to such fraud under No-
              ed in the notice we will cancel your                 Fault Coverage or Medical Payments Cov-
              policy. The date cancellation is effec-              erage of the insured person who commit-
              tive will be at least 14 days after the              ted the fraud, irrespective of whether a
              date we mail or deliver the cancella-                portion of the insured persons claim may
              tion notice.                                         be legitimate, and any benefits paid prior
    d. Return of Unearned Premium                                  to the discovery of the insured persons
                                                                   insurance fraud shall be recoverable by us,
         (1) If you cancel this policy, then premium               in their entirety, from the person who
              will be earned on a pro rata basis. We               committed insurance fraud. We are enti-
              may retain up to 10% of any unearned                 tled to all our costs and attorneys fees in
              premium. Any remaining unearned                      any action in which we prevail that enforc-
              premium will be mailed to you within                 es our right of recovery under this provi-
              30 days after the effective date of the              sion.
              policy cancellation, or 30 days after we             Neither we nor the insured is required to
              receive your request to cancel this poli-            pay a claim or charges:
              cy, whichever is later.
                                                                   (1) for any service or treatment that was
         (2) If we cancel this policy, then premium                     not lawful at the time rendered; or
              will be earned on a pro rata basis. Any
              unearned premium will be mailed at                   (2) to any person who knowingly submits
              the time we cancel the policy or with-                    a false or misleading statement relat-
              in 15 days after the effective date of                    ing to the claim or charges.
              the policy cancellation. Delay in the                If we have reasonable belief that a fraudu-
              return of unearned premium does not                  lent insurance act (s. 626.989, Florida
              affect the cancellation.                             Statutes, or s. 817.234, Florida Statutes)
11. Assignment                                                     has been committed, we shall notify the
                                                                   claimant, in writing, within 30 days after
    No assignment of benefits or other transfer of                 submission of the claim that the claim is
    rights is binding upon us unless approved by us.               being investigated for suspected fraud.
    This does not include a post loss assignment of                Beginning at the end of the initial 30-day
    benefits.                                                      period, we have an additional 60 days to
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        conduct a fraud investigation. Notwith-                       Our right of reimbursement for bene-
        standing the demand letter conditions un-                     fits under No-Fault Coverage does not
        der the Legal Action Against Us provision                     apply to an owner or registrant of a
        of this policy, no later than 90 days after                   taxicab       as       identified     in
        the submission of the claim, we must deny                     s.627.733(1)(b), Florida Statutes.
        the claim or pay the claim with simple in-      15. Mediation
        terest as provided in d. (2) under the Legal
        Action Against Us provision of this poli-           The insured or we may demand mediation of
        cy. Interest shall be assessed from the day         any claim:
        the claim was submitted until the day the           a. in an amount of $10,000 or less, resulting
        claim is paid. All claims denied for sus-                from:
        pected fraudulent insurance acts shall be
        reported to the Division of Insurance                    1. bodily injury under No-Fault Cover-
        Fraud.                                                        age, Medical Payments Coverage, or
                                                                      Uninsured Motor Vehicle Coverages;
14. Our Right to Recover Our Payments                                 or
    Death, Dismemberment and Loss of Sight                       2. death of or loss to an insured under
    Coverage payments are not recoverable by us.                      Death, Dismemberment and Loss of
    Under all other coverages, the following apply:                   Sight Coverage; or
    a. Subrogation                                          b. in any amount, for a loss covered under
        If we are obligated under this policy to                 Physical Damage Coverages,
        make payment to or for a person or organ-           by filing a written request with the Florida De-
        ization who has a legal right to collect            partment of Financial Services on a form which
        from another person or organization, that
        is not an insured, then we will be subro-           may be obtained from the Florida Department
        gated to that right to the extent of our            of Financial Services. The request must state
        payment.                                            why mediation is being requested and the issue
        The person or organization to or for whom           in dispute.
        we make payment must help us recover                The Florida Department of Financial Services
        our payments by:                                    will appoint a mediator. Each party may reject
        (1) doing nothing to impair that legal right;       one mediator whether before or after the other
                                                            party has made a rejection. The mediator will
        (2) executing any documents we may                  notify the parties of the date, time, and place of
             need to assert that legal right; and           the mediation conference, which will be held
        (3) taking legal action through our repre-          within 45 days of the request for mediation.
             sentatives when we ask.                        The mediation will be conducted informally
    b. Reimbursement                                        and may be held by telephone if feasible.
        (1) If we make payment under this policy            Participants must have authority to make a
             and the person or organization to or           binding decision, and must mediate in good
             for whom we make payment recovers              faith. Information and disclosure provided dur-
             or has recovered from another person           ing mediation are not admissible in any subse-
             or organization, then the person or or-        quent action or proceeding relating to the claim
             ganization to or for whom we make              or cause of action giving rise to the claim.
             payment must:
                                                            Costs of the mediator shall be shared equally
             (a) hold in trust for us the proceeds          by each party unless the mediator determines a
                  of any recovery; and                      party has not mediated in good faith.
             (b) reimburse us to the extent of our          If a person files suit which relates to facts al-
                  payment.
                                                            ready mediated, such facts shall not be mediat-
        (2) We have a right of reimbursement                ed again.       Only one mediation may be
             against the owner or the insurer of the        requested for each claim, unless all parties
             owner of a commercial motor vehicle            agree to further mediation. Any suit regarding
             for our payments of No-Fault benefits
             to any person having been an occu-             a mediated dispute must be filed as prescribed
             pant of the commercial motor vehicle           under the Limitations of Actions statutes or
             or having been struck by the commer-           within 60 days after the conclusion of the me-
             cial motor vehicle as a pedestrian.            diation process, whichever is later.
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16. Arbitration                                                        procedure and admission of evidence
    a. The insured or we may request, in writing,                      will be used.
       arbitration of any claim. If you and we                   (8) We do not waive any of our rights by
       agree to arbitrate, then arbitration will fol-                  submitting to arbitration.
       low the procedure outlined below.
                                                              b. We are not bound by any:
       (1) The arbitration will take place in the
            county in which the insured resides                  (1) judgment obtained without our writ-
            unless the parties agree to another lo-                    ten consent; or
            cation.                                              (2) default judgment against any person
       (2) The insured and we will each select a                       or organization other than us.
            competent arbitrator. These two arbi-             c. Regardless of the amount of any award,
            trators will select a third competent                including any judgment or default judg-
            arbitrator. If they are unable to agree              ment, we are not obligated to pay any
            on the third arbitrator within 30 days,              amount in excess of the available limits
            then either the insured or we may pe-                under this coverage of this policy.
            tition a court that has jurisdiction to
            select the third arbitrator.                  17. Legal Action Against Us
       (3) Each party will pay the cost of its own            a. Legal action may only be brought against
                                                                 us within five years immediately following
            arbitrator, attorneys, and expert wit-               the date of the accident or loss.
            nesses, as well as any other expenses
            incurred by that party. Both parties              b. Legal action may not be brought against us
            will share equally the cost of the third             until there has been full compliance with
                                                                 all the provisions of this policy.
            arbitrator.
                                                              c. Under No-Fault Coverage, we shall create
       (4) The arbitrators shall only decide the                 and maintain for each insured a log of No-
            answers to the following two ques-                   Fault Coverage benefits we have paid on
            tions:                                               behalf of the insured. If litigation is
            (a) are damages compensatory; and                    commenced, we shall provide to the in-
            (b) if damages are compensatory,                     sured a copy of the log within 30 days af-
                 then what is the amount of com-                 ter receiving a request for the log from the
                 pensatory damages.                              insured.
       (5) Arbitrators shall have no authority to             d. In addition, legal action may only be
                                                                 brought against us regarding:
            decide any other questions of fact, de-
            cide any questions of law, or conduct                (1) Liability Coverage and Property
            arbitration on a class-wide or class-                      Damage Liability Coverage, after the
            representative basis.                                      amount of damages an insured is le-
                                                                       gally liable to pay has been finally de-
       (6) A written decision that is both agreed up-                  termined by:
            on by and signed by any two arbitrators,                   (a) judgment after an actual trial, and
            and that also contains an explanation of                        any appeals of that judgment if
            how they arrived at their decision, will be                     any appeals are taken; or
            binding on:                                                (b) agreement between the claimant
            (a) us;                                                         and us.
            (b) the insured;                                     (2) No-Fault Coverage, if within 30 days
                                                                       after our receipt of written notice of
            (c) any assignee of the insured; and                       an intent to initiate litigation for:
            (d) any person or organization with                        (a) an overdue claim, we fail to pay
                 whom the insured expressly or                              the overdue claim, applicable in-
                 impliedly contracts.                                       terest, and a penalty of 10% of
                                                                            the overdue amount that we pay,
       (7) Subject to (1), (2), (3), (4), (5), and (6)                      subject to a maximum penalty of
            above, state court rules governing                              $250; or

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(b) our withdrawal of payment for                       submitted, may be used as the item-
     future treatment not yet rendered,                 ized statement. To the extent that
     we fail to mail to the person filing               the demand involves our with-
     the notice a written statement of                  drawal of payment for future treat-
     our agreement to pay for such                      ment not yet rendered, the claimant
     treatment in accordance with the                   shall attach a copy of our notice
     notice and to pay a penalty of                     withdrawing such payment and an
     10%, subject to a maximum pen-                     itemized statement of the type, fre-
     alty of $250, when we pay for                      quency, and duration of future
     such future treatment.                             treatment claimed to be reasonable
Payment or our written statement of                     and medically necessary.
agreement to pay for future treatment              The notice must be delivered to us by
not yet rendered shall be treated as be-           United States certified or registered
ing made on the date a draft, other                mail, return receipt requested, at the
valid instrument that is equivalent to             address we have filed with, and that is
                                                   made available by, the office of the
payment, or our written statement of               Florida Chief Financial Officer on its
agreement to pay, is placed in the                 Internet Website. Such postal costs
United States mail in a properly ad-               shall be reimbursed by us, if requested
dressed, postpaid envelope, or if not              by the claimant in the notice, when we
so posted, on the date of delivery.                pay the claim.
Such notice of intent to initiate litiga-      (3) Medical Payments Coverage unless
tion may not be sent until the claim is            we receive written notice of an intent
overdue, including any additional time             to initiate litigation and if within 30
                                                   days after our receipt of such for:
we have to pay the claim pursuant to
the No-Fault Act.                                  (a) a claim, we fail to pay the claim;
                                                        or
The notice must state that it is a de-            (b) our withdrawal of payment for
mand letter under s.627.736 and                        future treatment not yet rendered,
specify:                                                we fail to mail to the person filing
i. the name of the insured for                          the notice a written statement of
     whom benefits are being sought,                    our agreement to pay for such
                                                        treatment in accordance with the
     including a copy of the assign-                    notice.
     ment giving rights to the claimant
     if the claimant is not the insured;           Payment or our written statement of
                                                   agreement to pay for future treatment
ii. the claim number or policy num-                not yet rendered shall be treated as be-
     ber upon which the claim was                  ing made on the date a draft, other
     originally submitted to us; and               valid instrument that is equivalent to
                                                   payment, or our written statement of
iii. to the extent applicable, the name            agreement to pay, is placed in the
     of the medical provider who ren-              United States mail in a properly ad-
     dered the treatment, services, ac-            dressed, postpaid envelope, or if not
     commodations or supplies that                 so posted, on the date of delivery.
     form the basis of the claim, and an           The notice must state that it is a de-
     itemized statement specifying each            mand letter for Medical Payments
     exact amount, the date of treatment,          Coverage and specify:
     service, or accommodation, and the            i. the name of the insured for
     type of benefit claimed to be due.                 whom benefits are being sought,
     A properly completed Centers for                   including a copy of the assign-
     Medicare and Medicaid Services                     ment giving rights to the claimant
     (CMS) 1500 form, any other stand-                  if the claimant is not the insured;
     ard form approved by the Florida              ii. the claim number or policy num-
     Office of Insurance Regulation, or                 ber upon which the claim was
     the lost wage statement previously                 originally submitted to us; and

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                                       9810A
    iii. to the extent applicable, the name                   (d) agrees that we may contest the is-
         of the medical provider who ren-                          sues of liability and the amount of
         dered the treatment, services, ac-                        damages.
         commodations or supplies that                        We are not bound by any judgment
         form the basis of the claim, and an                  obtained without our written consent.
         itemized statement specifying each
         exact amount, the date of treatment,                 We are not bound by default judgment
         service, or accommodation, and the                   against any person or organization
         type of benefit claimed to be due. A                 other than us.
         properly completed Centers for                       Regardless of the amount of any
         Medicare and Medicaid Services                       award, including any judgment or de-
         (CMS) 1500 form, or any other                        fault judgment, we are not obligated to
         standard form approved by the                        pay any amount in excess of the avail-
         Florida Office of Insurance Regula-                  able limits under this coverage of this
         tion, may be used as the itemized                    policy.
         statement. To the extent that the
         demand involves our withdrawal of      18. Choice of Law
         payment for future treatment not           Without regard to choice of law rules, the law
         yet rendered, the claimant shall at-       of the state of:
         tach a copy of our notice withdraw-
         ing such payment and an itemized           a. Florida will control, except as provided in
         statement of the type, frequency,               b. below, in the event of any disagreement
         and duration of future treatment                as to the interpretation and application of
         claimed to be reasonable and medi-              any provision in this policy; and
         cally necessary.                           b. Illinois will control in the event of any dis-
    The notice must be delivered to us by                agreement as to the interpretation and ap-
    United States certified or registered                plication of this policys:
    mail, return receipt requested, at the               (1) Mutual Conditions provision found on
    address we have filed with, and that is                   the most recently issued Declarations
    made available by, the office of the                      Page, if this policy was issued by the
    Florida Chief Financial Officer on its                    State Farm Mutual Automobile Insur-
    Internet Website. Such postal costs                       ance Company; or
    shall be reimbursed by us, if requested              (2) Participating Policy provision found
    by the claimant in the notice, when we                    on the most recently issued Declara-
    pay the claim.                                            tions Page, if this policy was issued by
(4) Uninsured Motor Vehicle Coverage if                       any subsidiary or affiliate of the State
    the insured or that insureds legal rep-                  Farm Mutual Automobile Insurance
    resentative within five years immedi-                     Company.
    ately following the date of the             19. Severability
    accident:
    (a) presents an Uninsured Motor Vehi-           If any provision of this policy is held invalid or un-
         cle Coverage claim to us;                  enforceable by a court that has jurisdiction, then:
    (b) files a lawsuit, in a state or feder-       a. such provision will remain in full force to
         al court that has jurisdiction                  the extent not held invalid or unenforce-
         against us;                                     able; and
    (c) consents to a jury trial if request-        b. all other provisions of this policy will re-
         ed by us; and                                   main valid and enforceable.




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                                  Policy Form 9810A
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6128S.1 AMENDATORY ENDORSEMENT

This endorsement is a part of the policy. Except for the changes this endorsement makes, all other
provisions of the policy remain the same and apply to this endorsement.
1. DEFINITIONS                                                1. related to any named insured in
                                                                   any degree by blood, by mar-
    a. Newly Acquired Car is changed to read:                      riage, or by adoption and who
            Newly Acquired Car means a car                         makes his or her home in the
            newly owned by you or a resident                       same family unit with that
            relative.                                              named insured, whether or not
                                                                   temporarily living elsewhere, or
            A car ceases to be a newly acquired
                                                              2. a ward or foster child of any
            car on the earlier of:                                 named insured or of a person
            1. the effective date and time of a                    described in 1. above and who
                policy, including any binder, is-                  makes his or her home in the
                sued by us or any other company                    same family unit with that
                that describes the car as an in-                   named insured.
                sured vehicle; or                   2. LIABILITY COVERAGE (Bodily Injury
            2. the end of the 14th calendar day        and Property Damage)
               immediately following the date          a. Item 4. of Insured, under Additional
               the car is delivered to you or a           Definition, is changed to read:
               resident relative.
                                                              Insured means any other person or
          If a newly acquired car is not other-               organization vicariously liable for
          wise afforded comprehensive cover-                  the use of a vehicle by an insured as
          age or collision coverage by this or                defined in 1., 2., or 3. above, but
          any other policy, then this policy                  only for such vicarious liability.
          will provide Comprehensive Cover-                   This provision applies only if the ve-
          age or Collision Coverage for that                  hicle is:
          newly acquired car, subject to a de-                a. neither owned by, nor hired by,
          ductible of $500.                                        that other person or organiza-
                                                                   tion; and
    b. Pedestrian is changed to read:
                                                              b. neither available for, nor being
          Pedestrian means a person who is                         used for, carrying persons for a
          not occupying:                                           charge.
          1. a motor vehicle;                          b. The following is added to Supplemen-
          2. a self-propelled vehicle; or                 tary Payments:
          3. a trailer or other vehicle at-                   Attorney fees for attorneys repre-
               tached to a self-propelled vehi-               senting the person or entity assert-
               cle.                                           ing a claim against an insured are
                                                              not a covered court cost, cost or ex-
    c. Relative is changed to read:                           pense under the Supplementary Pay-
          Relative means a person, other than                 ments provision of this coverage in
          you, who is:                                        this policy.
                                           Page 1 of 11                                   6128S.1
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   c. Exclusions                                               This provision applies only if the ve-
      (1) The exception to exclusion 11. is                    hicle is:
          changed to read:                                     a. neither owned by, nor hired by,
             This exclusion does not apply to                       that other person or organiza-
             damage to a:                                           tion; and
                                                               b. neither available for, nor being
              a. motor vehicle owned by the                         used for, carrying persons for a
                   employer of you or the em-                       charge.
                   ployer of any resident rela-
                   tive if such damage is               b. The following is added to Supplemen-
                   caused by an insured while              tary Payments:
                   operating another motor ve-                 Attorney fees for attorneys repre-
                   hicle;                                      senting the person or entity assert-
                                                               ing a claim against an insured are
              b. residence while rented to or                  not a covered court cost, cost or ex-
                   leased to an insured; or                    pense under the Supplementary Pay-
              c. private garage while rented                   ments provision of this coverage in
                   to or leased to an insured;                 this policy.
       (2) The following exclusion is added:            c. Exclusions
               THERE IS NO COVERAGE                        (1) The exception to exclusion 9. is
               FOR AN INSURED WHO IS:                          changed to read:
               1. PROVIDING TRANSPOR-                               This exclusion does not apply to
                  TATION NETWORK SER-                               damage to a:
                  VICES; OR                                         a. motor vehicle owned by the
                                                                         employer of you or the em-
              2. OCCUPYING                 OR                            ployer of any resident rela-
                   STRUCK BY YOUR CAR,                                   tive if such damage is
                   A NEWLY ACQUIRED                                      caused by an insured while
                   CAR, OR A TEMPORARY                                   operating another motor ve-
                   SUBSTITUTE             CAR                            hicle;
                   WHILE SUCH VEHICLE                               b. residence while rented to or
                   IS BEING USED TO PRO-                                 leased to an insured; or
                   VIDE TRANSPORTATION
                   NETWORK SERVICES.                                c. private garage while rented
                                                                         to or leased to an insured;
3. PROPERTY DAMAGE LIABILITY
   COVERAGE                                                (2) The following exclusion is added:
   a. Item 4. of Insured, under Additional                          THERE IS NO COVERAGE
      Definition, is changed to read:                               FOR AN INSURED WHO IS:
          Insured means any other person or                         1. PROVIDING             TRANS-
          organization vicariously liable for                            PORTATION NETWORK
          the use of a vehicle by an insured as                          SERVICES; OR
          defined in 1., 2., or 3. above, but                       2. OCCUPYING OR STRUCK
          only for such vicarious liability.                             BY YOUR CAR, A NEWLY
                                         Page 2 of 11                                     6128S.1
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                   ACQUIRED CAR, OR A                         (3) an entity that owns or is wholly
                   TEMPORARY           SUBSTI-                    owned, directly or indirectly, by
                   TUTE CAR WHILE SUCH                            a hospital or hospitals;
                   VEHICLE IS BEING
                   USED TO PROVIDE                            (4) a physical therapist licensed un-
                   TRANSPORTATION NET-                            der chapter 486 of the Florida
                   WORK SERVICES.                                 Statutes, based upon referral by
4. NO-FAULT COVERAGE                                              a provider described in B.
                                                                  above; and
   a. Additional Definition
                                                              (5) a health care clinic licensed un-
      Item 2. of the definition of Insured is                     der part X of chapter 400 of the
      changed to read:
                                                                  Florida Statutes which is ac-
          Insured means any other person                          credited by an accrediting or-
          while occupying or struck as a pe-                      ganization whose standards
          destrian by:                                            incorporate comparable regula-
          a. your car;                                            tions required by the state of
          b. a newly acquired car;                                Florida; or
          c. a temporary substitute car; or                       (a) has a medical director li-
                                                                      censed under chapter 458,
          d. a trailer while attached to a car                        chapter 459, or chapter 460
              described in a., b., or c. above.
                                                                      of the Florida Statutes;
   b. Insuring Agreement
                                                                  (b) has been continuously li-
      Item 1.C. is changed to read:                                   censed for more than three
           follow-up services and care con-                           years or is a publicly traded
           sistent with the underlying medical                        corporation that issues se-
           diagnosis rendered pursuant to A.                          curities traded on an ex-
           above which may also be provided                           change registered with the
           by the following persons or entities:                      United States Securities and
                                                                      Exchange Commission as a
           (1) a hospital or ambulatory surgi-
                                                                      national securities ex-
               cal center licensed under chap-
                                                                      change; and
               ter 395 of the Florida Statutes;
                                                                  (c) provides at least four of the
           (2) an entity wholly owned by one                          following medical special-
               or more physicians licensed un-                        ties:
               der chapter 458 or 459 of the
               Florida Statutes, chiropractic                         i. general medicine;
               physicians licensed under chap-                        ii. radiography;
               ter 460 of the Florida Statutes or
               dentists licensed under chapter                        iii. orthopedic medicine;
               466 of the Florida Statutes, or                        iv. physical medicine;
               by such practitioners and the
               spouse, parent, child, or sibling                      v. physical therapy;
               of such practitioners;                                 vi. physical rehabilitation;

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                vii. prescribing or dispens-         d. Exclusions
                      ing outpatient prescrip-          The following exclusion is added:
                      tion medication; or
                                                            THERE IS NO COVERAGE FOR
                viii. laboratory services.                  AN INSURED WHO IS:
c. Limits                                                   1. PROVIDING TRANSPORTA-
   (1) Item 2.f.(I) is changed to read:                          TION NETWORK SERVICES;
           For all other medical services,                       OR
           supplies, and care, 200 percent                  2. OCCUPYING OR STRUCK
           of the allowable amount under:                        BY YOUR CAR, A NEWLY
           (I) The participating physician                       ACQUIRED       CAR, OR A TEM-
                fee schedule of Medicare                         PORARY      SUBSTITUTE       CAR
                Part B, except as provided                       WHILE     SUCH     VEHICLE      IS
                in sub-sub-subparagraphs (II)                    BEING    USED     TO   PROVIDE
                and (III).                                       TRANSPORTATION              NET-
                                                                 WORK SERVICES.
   (2) The last paragraph of item 2. is
       changed to read:                         5. MEDICAL PAYMENTS COVERAGE
           For purposes of the above, the            a. Insuring Agreement
           applicable fee schedule or pay-              Item 2.C. is changed to read:
           ment limitation under Medicare                   follow-up services and care con-
           is the fee schedule or payment                   sistent with the underlying medical
           limitation in effect on March 1                  diagnosis rendered pursuant to A.
           of the service year in which the                 above which may also be provided
           services, supplies, or care is                   by the following persons or entities:
           rendered and for the area in
           which such services, supplies,                   (1) a hospital or ambulatory surgi-
           or care is rendered, and the ap-                      cal center licensed under chap-
           plicable fee schedule or pay-                         ter 395 of the Florida Statutes;
           ment limitation applies to                       (2) an entity wholly owned by one
           services, supplies, or care ren-                      or more physicians licensed un-
           dered during that service year,                       der chapter 458 or 459 of the
           notwithstanding any subse-                            Florida Statutes, chiropractic
           quent change made to the fee                          physicians licensed under chap-
           schedule or payment limitation,                       ter 460 of the Florida Statutes or
           except that it will not be less                       dentists licensed under chapter
           than the allowable amount un-                         466 of the Florida Statutes, or
           der the applicable schedule of                        by such practitioners and the
           Medicare Part B for 2007 for                          spouse, parent, child, or sibling
           medical services, supplies, and                       of such practitioners;
           care subject to Medicare Part B.
           For purposes of this paragraph,                  (3) an entity that owns or is wholly
           the term service year means                         owned, directly or indirectly, by
           the period from March 1                               a hospital or hospitals;
           through the end of February of                   (4) a physical therapist licensed un-
           the following year.                                   der chapter 486 of the Florida
                                        Page 4 of 11                                     6128S.1
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           Statutes, based upon referral by                      For all other medical services,
           a provider described in B.                            supplies, and care, 200 percent
           above; and                                            of the allowable amount under:
       (5) a health care clinic licensed un-                     (I) The participating physician
           der part X of chapter 400 of the                           fee schedule of Medicare
           Florida Statutes which is ac-                              Part B, except as provided
           credited by an accrediting or-                             in sub-sub-subparagraphs (II)
           ganization whose standards                                 and (III).
           incorporate comparable regula-
           tions required by the state of                (2) The last paragraph of item 3. is
           Florida; or                                       changed to read:
           (a) has a medical director li-                       For purposes of the above, the
               censed under chapter 458,                        applicable fee schedule or pay-
               chapter 459, or chapter 460                      ment limitation under Medicare
               of the Florida Statutes;                         is the fee schedule or payment
                                                                limitation in effect on March 1 of
           (b) has been continuously li-                        the service year in which the ser-
               censed for more than three                       vices, supplies, or care is ren-
               years or is a publicly traded                    dered and for the area in which
               corporation that issues se-                      such services, supplies, or care is
               curities traded on an ex-                        rendered, and the applicable fee
               change registered with the                       schedule or payment limitation
               United States Securities and                     applies to services, supplies, or
               Exchange Commission as a                         care rendered during that service
               national securities ex-                          year, notwithstanding any subse-
               change; and                                      quent change made to the fee
           (c) provides at least four of the                    schedule or payment limitation,
               following medical special-                       except that it will not be less than
               ties:                                            the allowable amount under the
                                                                applicable schedule of Medicare
               i. general medicine;                             Part B for 2007 for medical ser-
               ii. radiography;                                 vices, supplies, and care subject
                                                                to Medicare Part B. For pur-
               iii. orthopedic medicine;                        poses of this paragraph, the term
               iv. physical medicine;                           service year means the period
                                                                from March 1 through the end of
               v. physical therapy;                             February of the following year.
               vi. physical rehabilitation;
                                                      c. Exclusions
               vii. prescribing or dispens-
                     ing outpatient prescrip-            (1) Exclusion 7. is changed to read:
                     tion medication; or                     THERE IS NO COVERAGE FOR
               viii. laboratory services.                    AN INSURED WHO:
b. Limits                                                    a. IS   OCCUPYING    OR
   (1) Item 3.f.(I) is changed to read:                         THROUGH BEING STRUCK

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       AS A PEDESTRIAN BY A VE-                                 WHILE SUCH VEHICLE
       HICLE OWNED BY ANY                                       IS BEING USED TO PRO-
       NAMED INSURED OR ANY                                     VIDE     TRANSPORTA-
       RELATIVE WHICH IS NOT                                    TION        NETWORK
       INSURED UNDER THIS POL-                                  SERVICES.
       ICY; OR
                                          6. UNINSURED MOTOR VEHICLE COV-
   b. AT THE TIME OF THE ACCI-               ERAGE (Stacking)
      DENT OWNS A MOTOR VE-
      HICLE SUBJECT TO THE                      a. Additional Definitions
      NO-FAULT ACT AND IS NOT                      Uninsured Motor Vehicle does not in-
      INSURED FOR THE COVER-                       clude a land motor vehicle or trailer is
      AGE REQUIRED BY THE                          changed to read:
      NO-FAULT ACT.                                    Uninsured Motor Vehicle does not
       This exclusion (7.b.) does not                  include a land motor vehicle or
                                                       trailer:
       apply to:
                                                       1. whose ownership, maintenance,
       (1) any named insured;                               or use is provided Liability Cov-
       (2) the spouse of any named in-                      erage by this policy. However,
           sured; and                                       any such vehicle will be deemed
                                                            to be an uninsured motor vehi-
       (3) any relative while occupy-                       cle for bodily injury sustained
           ing your car, a newly ac-                        by you or a resident relative
           quired car, a temporary                          while the vehicle is being oper-
           substitute car, or a non-                        ated by a person other than you
           owned car if the accident                        or a resident relative;
           occurs outside Florida, but                 2. designed for use primarily off
           within the area described                        public roads except while on
           under Where Coverage                             public roads;
           Applies for Medical Pay-                    3. while located for use as a dwell-
           ments Coverage;                                  ing or other premises; or
(2) The following exclusion is added:                  4. whose owner or operator could
                                                            have been reasonably identified.
       THERE IS NO COVERAGE                     b. Exclusions
       FOR AN INSURED WHO IS:
                                                    The following exclusion is added:
       1. PROVIDING    TRANS-
          PORTATION NETWORK                             THERE IS NO COVERAGE FOR
          SERVICES; OR                                  AN INSURED WHO IS:
       2. OCCUPYING        OR                           1. PROVIDING TRANSPORTA-
          STRUCK BY YOUR CAR,                              TION NETWORK SERVICES;
          A NEWLY ACQUIRED                                 OR
          CAR, OR A TEMPORARY                           2. OCCUPYING OR STRUCK
          SUBSTITUTE      CAR                              BY YOUR CAR, A NEWLY
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               ACQUIRED CAR, OR A TEM-                                CAR OR A NEWLY AC-
               PORARY SUBSTITUTE CAR                                  QUIRED CAR;
               WHILE SUCH VEHICLE IS                             b. WHILE OCCUPYING A
               BEING USED TO PROVIDE                                  VEHICLE OWNED BY
               TRANSPORTATION      NET-                               ANY RESIDENT RELA-
               WORK SERVICES.                                         TIVE IF IT IS NOT YOUR
                                                                      CAR OR A NEWLY AC-
7. UNINSURED MOTOR VEHICLE COV-                                       QUIRED CAR. This exclu-
   ERAGE (Non-Stacking)                                               sion (2.b.) does not apply to
   a. Additional Definitions                                          the first person shown as a
                                                                      named insured on the Dec-
      Uninsured Motor Vehicle does not in-                           larations Page and that
      clude a land motor vehicle or trailer is                       named insureds spouse
      changed to read:                                                who resides primarily with
          Uninsured Motor Vehicle does not                            that named insured, pro-
          include a land motor vehicle or                             vided that the vehicle is
          trailer:                                                    owned by neither that
                                                                      named insured nor that
           1. whose ownership, maintenance,                           spouse; OR
              or use is provided Liability Cov-
              erage by this policy. However,                     c. WHILE A PEDESTRIAN
              any such vehicle will be deemed                         AND IS STRUCK BY A
              to be an uninsured motor vehi-                          VEHICLE OWNED BY
                                                                      ANY RESIDENT RELA-
              cle for bodily injury sustained                         TIVE;
              by you or a resident relative
              while the vehicle is being oper-            (2) The following exclusions are added:
              ated by a person other than you                    (a) THERE IS NO COVER-
              or a resident relative;                                 AGE FOR AN INSURED
                                                                      WHO SUSTAINS BODILY
           2. designed for use primarily off                          INJURY WHILE OCCU-
              public roads except while on                            PYING        A    VEHICLE
              public roads;                                           OWNED BY THAT IN-
           3. while located for use as a dwell-                       SURED IF THAT VEHI-
              ing or other premises; or                               CLE IS NOT INSURED
                                                                      FOR UNINSURED MO-
           4. whose owner or operator could                           TOR VEHICLE COVER-
              have been reasonably identified.                        AGE        UNDER       THIS
   b. Exclusions                                                      POLICY OR ANY OTHER
                                                                      POLICY.
       (1) Exclusion 2. is changed to read:
                                                                 (b) THERE IS NO COVER-
              THERE IS NO COVERAGE                                    AGE FOR AN INSURED
              FOR AN INSURED WHO                                      WHO IS:
              SUSTAINS BODILY INJURY:
                                                                      1. PROVIDING TRANS-
              a. WHILE OCCUPYING A                                        PORTATION          NET-
                   VEHICLE OWNED BY                                       WORK        SERVICES;
                   YOU IF IT IS NOT YOUR                                  OR
                                         Page 7 of 11                                    6128S.1
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                  2. OCCUPYING     OR                  b. Exclusions
                     STRUCK BY YOUR                       The following exclusion is added:
                     CAR, A NEWLY AC-
                     QUIRED CAR, OR A                         THERE IS NO COVERAGE FOR
                     TEMPORARY SUB-                           ANY       COVERED           VEHICLE
                     STITUTE CAR WHILE                        WHILE IT IS USED TO PROVIDE
                     SUCH VEHICLE IS                          TRANSPORTATION NETWORK
                     BEING USED TO                            SERVICES.
                     PROVIDE    TRANS-              9. INSUREDS DUTIES
                     PORTATION    NET-
                     WORK SERVICES.                    a. Item 7.a.(3) is changed to read:
8. PHYSICAL DAMAGE COVERAGES                                  An insured making claim under:
  a   The paragraph that reads:                               a. No-Fault Coverage, Medical
                                                                  Payments Coverage, Uninsured
          If a deductible applies to Compre-                      Motor Vehicle Coverage, or
          hensive Coverage, then it is shown                      Death, Dismemberment and
          on the Declarations Page. The de-                       Loss of Sight Coverage must:
          ductible that applies to Collision                      (3) provide written authoriza-
          Coverage is shown on the Declara-                            tion for us to obtain medical
          tions Page.                                                  bills, medical records, wage
      is changed to read:                                              information, salary infor-
                                                                       mation, employment in-
          Deductible                                                   formation, and any other
                                                                       relevant information we
          1. If D is shown under SYM-                               deem reasonably neces-
             BOLS on the Declarations                                 sary to substantiate the
             Page, then the deductible that                            claim.
             applies to Comprehensive Cov-
                                                                       Such authorizations must
             erage, if any, is the dollar                              not:
             amount shown on the Declara-
             tions Page next to the title of this                      (a) restrict us from per-
             coverage. However, we will not                                 forming our business
             deduct more than $500 for any                                  functions in:
             loss to a newly acquired car.                                  (i) obtaining relevant
                                                                                 and reasonably nec-
          2. If G is shown under SYM-                                         essary records, bills,
             BOLS on the Declarations                                           information, and
             Page, then the deductible that                                      data; nor
             applies to Collision Coverage is
                                                                            (ii) using or retaining
             the dollar amount shown on the                                      relevant and rea-
             Declarations Page next to the ti-                                   sonably necessary
             tle of this coverage. However,                                      records, bills, infor-
             we will not deduct more than                                        mation, and data
             $500 for any loss caused by col-                                    collected or re-
             lision to a newly acquired car.                                     ceived by us;
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              (b) require us to violate                      Coverage, or Death, Dismember-
                   federal or state laws or                  ment and Loss of Sight Coverage
                   regulations;                              must submit to us all information we
              (c) prevent us from ful-                       need to comply with federal and
                   filling our data report-                  state laws and regulations.
                   ing and data retention 10. GENERAL TERMS
                   obligations to insurance          a. The following is added to Limited Cov-
                   regulators; or                       erage in Mexico:
              (d) prevent us from dis-                       Uninsured Motor Vehicle Cover-
                   closing claim infor-                      age (Stacking and Non-Stacking)
                   mation and data:
                                                     b. Under Limited Coverage in Mexico,
                   (i) to enable perfor-                Legal Action Against Us is changed to
                         mance of our busi-             read:
                         ness functions;
                   (ii) to meet our report-                  Any legal action against us arising
                         ing obligations to                  out of an accident or loss occurring
                         insurance regula-                   in the country of Mexico must be
                         tors;                               brought in a Florida state court in the
                                                             United States of America, or a
                   (iii) to meet our report-
                         ing obligations to                  United States of America District
                         insurance data con-                 Court that has jurisdiction.
                         solidators; and             c. The provision entitled Persons Acting
                   (iv) as otherwise per-               On Our Behalf is deleted in its en-
                         mitted by law.                 tirety.
              If an injured insured is a             d. The following is added to Newly
              minor, unable to act, or                  Owned or Newly Leased Car:
              dead, then his or her legal                    If a resident relative wants to insure
              representative must provide                    a car newly owned by the resident
              us with the written authori-
              zation.                                        relative with the State Farm Com-
                                                             panies after that car ceases to be a
              If the holder of the infor-                    newly acquired car, then the resi-
              mation refuses to provide it                   dent relative must apply to the State
              to us despite the authoriza-                   Farm Companies for a separate pol-
              tion, then at our request the
              person making claim or his                     icy to insure the car newly owned by
              or her legal representative                    the resident relative. Such policy
              must obtain the information                    will be issued only if both the appli-
              and promptly provide it to                     cant and the vehicle are eligible for
              us; and                                        coverage at the time of the applica-
b. The following is added to item 7.:                        tion.
      An insured making claim under No-              e. The following is added to Premium:
      Fault Coverage, Medical Payments                       If due to insufficient funds, payment
      Coverage, Uninsured Motor Vehicle                      of premium for this policy by debit
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       card, credit card, electronic funds                      premium paid to unpaid bal-
       transfer, or electronic check is re-                     ances of other policies with
       turned, is declined, or cannot be pro-                   the State Farm Companies.
       cessed, we may impose an                   g. The following are added to GENERAL
       insufficient funds fee of $15 per oc-         TERMS:
       currence.
                                                        Electronic Delivery
f.   Return of Unearned Premium is
     changed to read:                                    With your consent, we may, if al-
                                                         lowed by law, electronically deliver
       (1) If you cancel this policy:                    any document or notice, including a
           (a) then premium will be                      notice to renew, instead of mailing it
                earned on a pro rata basis.              or delivering it by other means.
                We may retain up to 10% of               Proof of transmission will be suffi-
                any unearned premium.                    cient proof of notice. This provision
                Any remaining unearned                   does not apply to any notice to non-
                premium will be mailed or
                electronically transferred to            renew or cancel.
                you within 30 days after the             Our Rights Regarding Claim In-
                effective date of the policy             formation
                cancellation, or 30 days af-
                ter we receive your request              a. We will collect, receive, obtain,
                to cancel this policy, which-               use, and retain all the items de-
                ever is later. Delay in the                 scribed in item b.(1) below and
                return of unearned premium                  use and retain the information
                does not affect the cancella-               described in item b.(3)(b) be-
                tion;                                       low, in accordance with applica-
                                                            ble federal and state laws and
           (b) you may elect to apply the                   regulations and consistent with
                unearned portion of any                     the performance of our business
                premium paid to unpaid bal-                 functions.
                ances of other policies with
                the State Farm Companies.                b. Subject to a. above, we will not
                                                            be restricted in or prohibited
       (2) If we cancel this policy:                        from:
           (a) then premium will be                         (1) collecting, receiving, or ob-
               earned on a pro rata basis.                      taining records, receipts, in-
               Any unearned premium will                        voices,     medical     bills,
               be mailed or electronically                      medical records, wage in-
               transferred at the time we                       formation, salary infor-
               cancel the policy or within                      mation,          employment
               15 days after the effective                      information, relevant data,
               date of the policy cancella-                     and any other reasonable in-
               tion. Delay in the return of                     formation to process the
               unearned premium does not                        claim;
               affect the cancellation;                      (2) using any of the items de-
           (b) you may elect to apply the                        scribed in item b.(1) above;
               unearned portion of any                           or
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   (3) retaining:                                     (3) to meet our reporting obli-
       (a) any of the items in item                       gations to insurance data
            b.(1) above; or                               consolidators;
       (b) any other information                      (4) to meet other obligations re-
            we have in our posses-                        quired by law; and
            sion as a result of our                   (5) as otherwise permitted by
            processing, handling, or                      law.
            otherwise      resolving
            claims submitted under                d. Our rights under a., b., and c.
            this policy.                             above shall not be impaired by
c. We may disclose any of the                        any:
   items in item b.(1) above and                      (1) authorization related to any
   any of the information de-                             claim submitted under this
   scribed in item b.(3)(b) above:                        policy; or
   (1) to enable performance of
       our business functions;                        (2) act or omission of an in-
   (2) to meet our reporting obli-                        sured or a legal representa-
       gations to insurance regula-                       tive acting on an insureds
       tors;                                              behalf.




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6910A AMENDATORY ENDORSEMENT
This endorsement is a part of the policy. Except for the changes this endorsement makes, all other provisions
of the policy remain the same and apply to this endorsement.
1. PHYSICAL DAMAGE COVERAGES                                       e. A written appraisal that is both agreed
   Limits and Loss Settlement  Comprehen-                            upon by and signed by any two ap-
   sive Coverage and Collision Coverage                               praisers, and that also contains an ex-
                                                                      planation of how they arrived at their
    The following is added:                                           appraisal, will be binding on the owner
        If there is disagreement as to the cost of re-                of the covered vehicle and us.
        pair, replacement, or recalibration of glass,              We and you do not waive any rights by
                                                                   f.
        an appraisal will be used as the first step                submitting to an appraisal.
        toward resolution. Appraisal will follow the
        rules and procedures as listed below:            2. GENERAL TERMS
        a. The owner and we will each select a              a. Item (3) of How and When We May Can-
                                                               cel, under Cancellation, is changed to
           competent appraiser.                                read:
        b. The two appraisers will select a third                  If we cancel this policy for nonpayment
           competent appraiser. If they are unable                 of premium during the first 30 days im-
           to agree on a third appraiser within 30                 mediately following the effective date of
           days, then either the owner or we may                   this policy, we will do so only if a check
           petition a court that has jurisdiction to               used to pay the premium is dishonored
           select the third appraiser.                             for any reason or any other type of
                                                                   premium payment was subsequently
        c. Each party will pay the cost of its own                 determined to be rejected or invalid.
           appraiser, attorneys, and expert wit-
           nesses, as well as any other expenses              b. Item a. of Legal Action Against Us is
           incurred by that party. Both parties will             changed to read:
           share equally the cost of the third ap-
           praiser.                                                  Legal action may only be brought
                                                                     against us within five years immediate-
        d. The appraisers shall only determine the                   ly following the date of the accident or
           cost of repair, replacement, and recali-                  loss. However, this limitation of action
           bration of glass. Appraisers shall have                   is tolled for a period of 60 days after we
           no authority to decide any other ques-                    receive notice from the Florida Depart-
           tions of fact, decide any questions of                    ment of Financial Services, in accord-
           law, or conduct appraisal on a class-                     ance with section 624.155, Florida
           wide or class-representative basis.                       Statutes.
6910A




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